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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                          :   Chapter 11
                                                                :
                                              1
ORION HEALTHCORP, INC., et al.,                                 :   Case No. 18-71748
                                                                :
                           Debtors.                             :   (Joint Administration Pending)
                                                                :
--------------------------------------------------------------- x


               DECLARATION OF TIMOTHY J. DRAGELIN IN SUPPORT OF
                  CHAPTER 11 PETITIONS AND FIRST DAY MOTIONS

        I, Timothy J. Dragelin, being duly sworn, depose and state as follows:

        1.           I am the Chief Executive Officer (“CEO”) and Chief Restructuring Officer

(“CRO”) of Orion Healthcorp, Inc. and its affiliated debtors and debtors in possession
                                  2
(collectively, the “Debtors”). I have served as the Debtors’ CEO and CRO since October 2017.

In my capacity as CEO and CRO, I am generally familiar with the Debtors’ day-to-day

operations, business, financial affairs, and books and records. I am above 18 years of age and I

am competent to testify.




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Orion Healthcorp, Inc. (7246); Constellation Healthcare Technologies, Inc. (0135); NEMS Acquisition,
LLC (7378); Northeast Medical Solutions, LLC (2703); NEMS West Virginia, LLC (unknown); Physicians Practice
Plus Holdings, LLC (6100); Physicians Practice Plus, LLC (4122); Medical Billing Services, Inc. (2971); Rand
Medical Billing, Inc. (7887); RMI Physician Services Corporation (7239); Western Skies Practice Management, Inc.
(1904); Integrated Physician Solutions, Inc. (0543); NYNM Acquisition, LLC (unknown) Northstar FHA, LLC
(unknown); Northstar First Health, LLC (unknown); Vachette Business Services, Ltd. (4672); Phoenix Health, LLC
(0856); MDRX Medical Billing, LLC (5410); VEGA Medical Professionals, LLC (1055); Allegiance Consulting
Associates, LLC (7291); Allegiance Billing & Consulting, LLC (7141). The corporate headquarters and the mailing
address for the Debtors listed above is 1715 Route 35 North, Suite 303, Middletown, NJ 07748.
2
  My role as CEO is currently limited to Constellation Healthcare Technologies, Inc. and certain other Debtors, not
including Orion Healthcorp, Inc. I am also the CRO of the subsidiaries of NYNM Acquisition (as defined and
described below) which have not filed chapter 11 petitions at this time.
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        2.             I am a Senior Managing Director in the Corporate Finance and Restructuring

practice at FTI Consulting, Inc. (“FTI”), where I lead FTI’s Corporate Finance and

Restructuring’s Healthcare Industry practice and have more than 20 years of experience in

restructuring matters, including representing debtors and creditors in bankruptcy and out-of-court

restructurings.        My experience includes bankruptcy planning and management, turnaround

consultation, interim management, lender advisory, buy-side due diligence, sell-side mandates,

valuation, process improvement, forensic investigations, and litigation advisory work.

        3.             Except as otherwise indicated, all facts set forth in this declaration (the

“Declaration”) are based upon (a) my personal knowledge, (b) my discussions with other

members of the Debtors’ management team, and the Debtors’ advisors, (c) my review of relevant

documents and information concerning the Debtors’ operations, financial affairs, and

restructuring initiatives, or (d) my opinions based upon my experience and knowledge. If called

as a witness, I could and would testify competently to the facts set forth in this Declaration on

that basis. I am authorized to submit this Declaration on behalf of the Debtors.

        4.             On March 16, 2018 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq.

(the “Bankruptcy Code”) in the United States Bankruptcy Court for the Eastern District of New

York.

        5.             Contemporaneously herewith, the Debtors have filed the following motions

and application (collectively, the “First Day Motions”):

                  a.       Motion of the Debtors for Entry of an Order Directing the Joint
                           Administration of Their Chapter 11 Cases (the “Joint Administration
                           Motion”);

                  b.       Motion of the Debtors for Entry of an Order (I) Authorizing the Debtors to
                           Maintain and File a Consolidated Creditor Matrix and Mailing Matrix; and


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            (II) Authorizing the Filing of a Consolidated List of Top 75 Unsecured
            Creditors (the “Consolidated Creditor List Motion”);

      c.    Motion of the Debtors for Entry of an Order Extending the Debtors’
            Deadline to File Schedules of Assets and Liabilities and Statements of
            Financial Affairs (the “Extension Motion”);

      d.    Application for an Order Appointing Epiq Bankruptcy Solutions, LLC as
            Claims and Noticing Agent for the Debtors Pursuant to 28 U.S.C. §
            156(c), 11 U.S.C. § 105(a), and E.D.N.Y. Administrative Order No. 658
            Nunc Pro Tunc to the Petition Date (the “Claims Agent Retention
            Application”);

      e.    Motion of the Debtors for Entry of Interim and Final Orders
            (I) Authorizing the Debtors to Pay Certain Prepetition Wages and
            Compensation and Maintain and Continue Employee Benefit Programs in
            the Ordinary Course and (II) Authorizing Banks to Honor and Process
            Checks and Transfers Related to Such Employee Obligations (the
            “Wage Motion”);

      f.    Motion of the Debtors for Entry of Interim and Final Orders
            (I) Authorizing The Debtors’ Proposed Form of Adequate Assurance of
            Payment, (II) Establishing Procedures for Resolving Objections by Utility
            Companies, and (III) Prohibiting Utility Companies from Altering,
            Refusing, or Discontinuing Service (the “Utilities Motion”);

      g.    Motion of the Debtors for Entry of Interim and Final Orders Authorizing
            the Debtors to Continue their Insurance Policies and Pay Prepetition and
            Postpetition Obligations in Respect Thereof (the “Insurance Motion”);

      h.    Motion of the Debtors for Entry of Interim and Final Orders Authorizing
            (I) Continued Use of Existing Cash Management System, (II)
            Maintenance of Existing Bank Accounts, (III) Authorizing Continued
            Transfers Among Debtors and (IV) Continued Use of Existing Business
            Forms (the “Cash Management Motion”);

      i.    Motion of the Debtors for entry of Interim and Final Orders (A)
            Authorizing the Debtors to Pay or Honor Prepetition Obligations to
            Certain Critical Vendors and (B) Authorizing Banks to Honor and Process
            Checks and Transfers Related to Such Critical Vendors Obligations (the
            “Critical Vendor Motion”); and

      j.    Motion of the Debtors for Entry of Interim and Final Orders Pursuant to
            11 U.S.C. §§ 105, 361, 362, 363, 364, and 507, Bankruptcy Rules 2002,
            4001, 6004, and 9014, and Local Rule 4001-5 (I) Authorizing the Debtors
            to Obtain Postpetition Financing, (II) Authorizing the Use of Cash
            Collateral, (III) Granting Liens and Providing Super-Priority
            Administrative Expense Status, (IV) Granting Adequate Protection, (V)

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                        Scheduling a Final Hearing, and (VI) Granting Related Relief (the
                        “DIP Financing Motion”).

       6.           In addition to the First Day Motions, the Debtors have filed (or intend to soon

file) the following extraordinary motions:

               a.       Debtors’ Motion for an Order Pursuant to Bankruptcy Rules 2004 and
                        9014 Directing the Production of Documents and the Examination of
                        Robinson Brog Leinwand Greene Genovese & Gluck PC;

               b.       Debtors’ Motion for an Order Pursuant to 11 U.S.C. §§ 542(a) and 542(e)
                        Compelling Robinson Brog Leinwand Greene Genovese & Gluck PC to
                        Turnover and Account for Property of the Estate and Recorded
                        Information;

               c.       Debtors’ Motion for an Order Pursuant to Bankruptcy Rules 2004 and
                        9014 Directing the Production of Documents and the Examination of
                        Rosenberg Rich Baker Berman & Company; and

               d.       Debtors’ Motion for an Order Pursuant to 11 U.S.C. §§ 542(a) and 542(e)
                        Compelling Rosenberg Rich Baker Berman & Company to Turnover
                        Property of the Estate and Recorded Information.

       7.           I submit this Declaration, pursuant to E.D.N.Y. LBR 1007-4 and this Court’s

Guidelines for First Day Motions, in support of the Debtors’ chapter 11 petitions and First Day

Motions. I am familiar with the content of each First Day Motion and believe that the relief

sought therein allows the Debtors to fulfill their duties as debtors in possession, minimize the

possible disruption that may be caused by the chapter 11 filings and achieve a successful

reorganization. The facts set forth in each of the First Day Motions are incorporated herein by

reference. Capitalized terms used but not defined in this Declaration shall have the meanings

ascribed to such terms in the relevant First Day Motion.

       8.           Except as otherwise indicated, all facts set forth in this Declaration are based

upon my personal knowledge, my review of relevant documents, my opinion based upon my

experience and knowledge of the Debtors’ operations and financial condition, and information




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provided to me by management, advisors, employees or other representatives of the Debtors. If I

was called as a witness, I would testify consistently with the facts set forth in this Declaration.
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                                     PRELIMINARY STATEMENT

        9.           As discussed in detail below, the Debtors are the victims of a large, complex,

and brazen fraud that was subject to a complex and deliberate concealment effort perpetrated by

their former management that was years in the making.                      After acquiring several of their

businesses, the Debtors’ former CEO, Parmjit “Paul” Parmar (“Parmar,” who previously owned

the company) took Constellation Healthcare Technologies, Inc., the parent company of the

Debtors (and itself a Debtor), public on the London AIM and then proceeded to raise additional

equity for additional acquisitions, many of which are believed to be largely or entirely fictitious.

The Debtors borrowed approximately $130 million in debt in connection with a go-private

transaction, the majority of which is believed to have been paid to Parmar (as a shareholder,

through entities under his control), which is a financial burden the Debtors simply cannot sustain.

The Debtors borrowed such funds based upon financials recently discovered by the Debtors’ new

management and their professionals to be largely fictitious and involving numerous sham

companies and fabricated transactions, revenues, and customers. The Debtors have commenced

these chapter 11 cases to (i) market and sell their assets, (ii) wind down certain of their

businesses, and (iii) to enable them to ultimately pursue claims against the individuals that put

the Debtors in this position for the benefit of all their creditors.

        10.          This Declaration, which is organized into three sections, provides an overview

of the Debtors and the circumstances leading to the commencement of the Debtors’ chapter 11


3
  Capitalized terms used but not otherwise defined in this Preliminary Statement shall have the meanings ascribed to
them elsewhere in this Declaration.




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cases. Section I describes the Debtors’ structure and operations. Section II recounts the events

preceding the bankruptcy filings. Section III affirms and incorporates facts that support the First

Day Motions.

I.         OVERVIEW OF THE DEBTORS’ STRUCTURE AND OPERATIONS

                 A. Corporate History

           11.         The Debtors are a consolidated enterprise of several companies aggregated

through a series of acquisitions, which operate the following businesses: (a) outsourced revenue

cycle management (“RCM”) for physician practices, (b) physician practice management,

(c) group purchasing services for physician practices, and (d) an independent practice association

business, which is organized and directed by physicians in private practice to negotiate contracts

with insurance companies on their behalf while such physicians remain independent and which

also provides other services to such physician practices.

           12.         Debtors Medical Billing Services, Inc., Rand Medical Billing, Inc., RMI

Physician Services Corporation, Western Skies Practice Management, Inc., Northeast Medical

Solutions, LLC, NEMS West Virginia, LLC, Physician Practice Plus, LLC, Allegiance

Consulting Associates, LLC, and Allegiance Billing & Consulting, LLC are in the RCM

business.         Debtor Integrated Physician Solutions, Inc. operates the physician practice

management business as well as the group purchasing organization. New York Network IPA,

Inc. and New York Premier IPA, Inc. operate the independent practice association business. The

remainder of the Debtors are either (a) holding companies or entities that have either no or
                                                                                       4
minimal current operations, or (b) entities that are the subject of sham acquisitions.



4
    The sham acquisitions are discussed below in Section I.E.




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               i.   Genesis of the Debtor Entities

        13.         The following information was obtained and summarized from various
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publicly available documents. According to the AIM Offering Memorandum, the entity that is

currently named Orion Healthcorp, Inc. (“Orion”) was incorporated in Delaware in 1984 under

the name Technical Coatings Incorporated. On September 10, 1984 its name was changed to

Technical Coatings, Inc. On July 11, 1999, its name was changed to Surgicare, Inc. and, in

1999, it was registered for trading on U.S. exchanges.

        14.         In 2004, Surgicare Inc.’s name was changed to Orion Healthcorp, Inc. and it

subsequently acquired Integrated Physician Solutions, LLC (“IPS”) and Medical Billing

Services, Inc. (“MBS”). In 2006, Orion acquired Rand Medical Billing, Inc. (“Rand”). In 2007,

Orion delisted from NASDAQ.             In 2008, Orion acquired RMI Physicians Services Corp.

(“RMI”) and Western Skies Practice Management, Inc. (“Western Skies”).

        15.         According to the AIM Offering Memorandum, in April 2013, Constellation

Healthcare, LLC (“CHLLC”), an entity that is not a debtor in these chapter 11 cases, was

formed as an investment vehicle by Parmar and Southport Lane Asset Management, LLC

specifically for the purposes of acquiring Orion and its operating subsidiaries and to pursue

an acquisition strategy in the RCM market. On June 17, 2013, the entire issued share capital of

Orion was acquired by CHLLC. Accordingly, as of the date of Parmar’s acquisition, Orion was

the parent of IPS, MBS, Rand, RMI, and Western Skies.


5
  Such documents include the Application for Admission to AIM (the “AIM Offering Memorandum”), as well as
other documents that were publicly filed in connection with CHT’s listing on the London Stock Exchange’s
Alternative Investments Market (together with the AIM Offering Memorandum, the “AIM Filings”). While the
documents are no longer available from the London Stock Exchange, the AIM Filings were obtained from
http://www.constellationhealthgroup.com and I presume that such documents were publicly filed with AIM (as
defined below). The Debtors have limited documents and knowledge as to their history, which has in part been
limited due to the Debtors’ prior professionals’ refusal to turn over their records.




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         16.         The following is a timeline of the various subsequent acquisitions discussed

below:




         17.         On March 31, 2014, NEMS Acquisition LLC (“NEMS Acquisition”), whose

sole member is Orion, acquired North East Medical Solutions LLC (“NEMSLLC”) and NEMS
                                                                                      6
West Virginia, LLC (“NEMSWV” and together with NEMSLLC, “NEMS”).

         18.         In June 2014, investment entities managed by Parmar acquired all of the

ownership interests of CHLLC.

               ii.   The Going Public Transaction

         19.         According to the AIM Offering Memorandum, on September 3, 2014,

Constellation Healthcare Technologies, Inc. (“CHT”), a Debtor in these chapter 11 cases and the

direct or indirect parent of all of the remaining Debtors, was formed to become the holding

company for Orion and its subsidiaries for the purposes of a public listing on London Stock

Exchange’s Alternative Investments Market (“AIM”).                   According to the AIM Offering

Memorandum, CHT was to acquire the entire issued share capital of Orion immediately prior to

CHT’s admission to trading on AIM. Immediately after its admission to trading on AIM,

CHLLC was to become the controlling shareholder of CHT holding approximately 68.1 percent

of the voting rights in CHT.

6
  According to the AIM Offering Memorandum, on November 28, 2013, NEMS entered into an Asset Purchase
Agreement with MCF Corporation, an Ohio corporation, Robert S. Boone, Lori Boone and the MCF Corporation
401(k) Plan pursuant to which NEMS purchase all of the assets of MCF Corporation, which included but were not
limited to all equipment, inventory, patents and accounts receivables.




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        20.          The going public transaction was consummated on December 8, 2014 and

CHT was admitted to trading on AIM on the London Stock Exchange (the “Going Public

Transaction”). At the time of the Going Public Transaction, CHT was the immediate holding

company of Orion, which was in turn the direct or indirect parent company of eight (8)

subsidiaries that formed the enterprise at that time, including IPS, MBS, Rand, RMI, Western

Skies, NEMS Acquisition, NEMSLLC and NEMSWV.

              iii.    Orion’s Acquisitions and Secondary Offerings While Publicly Listed on AIM

                          a. PPP Acquisition

        21.          According to an Acquisition Announcement, dated March 17, 2015 (the

“March 17 Announcement”) and the Consolidated Financial Statements For the Years Ended

December 31, 2015 and 2014 filed with AIM (the “AIM Financial Statements”), CHT acquired
                              7
Physicians Practice Plus, an RCM business, for a maximum cash consideration of up to $20.0

million, subject to the fulfillment of certain revenue and EBITDA targets being met over a 24

month period. In connection with this acquisition, Arvind Walia, founder and Chief Executive

Officer, joined CHT as the Chief Technology Officer of the enlarged group. As a result of this

transaction, Orion became the holding company for Physicians Practice Plus Holdings, LLC
                                                                                                              8
(“PPP HoldCo”), and its operating subsidiary, Physicians Practice Plus, LLC (“PPP OpCo”).




7
 According to the March 17 Announcement, in November 2014, PPP acquired the business and assets of P.C.
Advantage.
8
  According to the March 17 Announcement, Orion acquired an entity called Physician Practice Plus, Inc. and its
three operating subsidiaries. However, I am only aware of PPP HoldCo and PPP OpCo. The organizational
documents for these entities suggest that these entities were formed shortly before the transaction. The transaction
documents indicate that the purchase was structured so that PPP OpCo purchased the assets of Porteck Corporation
for $12.8 million, which included cash consideration of $12.3 million plus forgiveness of a $500,000.00 note, plus
certain earn out payments that were payable upon the achievement of certain revenue targets and bonuses.




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                         b. May 2015 Secondary Offering

          22.      According to the AIM Financial Statements and an announcement titled

“Proposed Placing and Subscription to raise £12.9 million,” dated May 13, 2015, in May 2015,

pursuant to a secondary placing of its shares, CHT raised approximately $20.0 million. The

stated purpose of the secondary offerings was to allow for certain of the acquisitions discussed

below.

                         c. Northstar Acquisition

          23.      According to the AIM Financial Statements and an announcement titled

“Acquisition of the business and assets of NorthStar First Health,” dated September 16, 2015

(the “September 16 Announcement”), on September 16, 2015, CHT acquired NorthStar First

Health, an RCM business, for a maximum consideration of $18.0 million. According to the

September 16 Announcement, 64% of the consideration was to be paid in cash and 36% in CHT

shares.     As a result of this transaction, Orion became the owner of Northstar FHA, LLC

(“Northstar FHA”), a holding company, which in turns owns Northstar First Health, LLC

(“Northstar FH”), another holding company, which in turn owns Vachette Business Services,
                     9
LLC (“Vachette”), the operating subsidiary.               As discussed in further detail below, upon

information belief, the actual purchase price for Vachette was for a maximum consideration of

approximately $2.8 million, of which approximately $2.3 million was paid.

                         d. Phoenix Health LLC Acquisition

          24.      According to the AIM Financial Statements and an announcement titled

“Acquisition of the business and assets of Phoenix Health LLC,” dated September 18, 2015 (the


9
 The AIM Financial Statements and the September 16 Announcement do not identify Vachette, but rather refer to
Northstar First Health, which is the name of a holding company.




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“September 18 Announcement”), on September 18, 2015, CHT acquired Phoenix Health LLC

(“Phoenix”), an RCM business, for a maximum consideration of $14.0 million. According to the

September 18 Announcement, 75% of the consideration was to be paid in cash and 25% in CHT

shares. As a result of this transaction, Orion became the parent company of Phoenix. However,

as discussed below, upon information and belief, Phoenix is an entity created by Parmar that

conducted no business and had no assets.

                      e. December 2015 Secondary Offering

       25.        In an announcement titled “Proposed Placing & Subscription to raise £30

million at 160 pence per share[;] Conditional Acquisition of MDRX Medical Billing LLC,”

dated December 11, 2015, CHT announced its intention to conduct a secondary offering.

According to the AIM Financial Statements, CHT raised gross proceeds of £30 million

(approximately $45.0 million) and received approximately $42.2 million from net proceed from

this secondary offering.

                      f. MDRX Medical Billing LLC Acquisition

       26.        According to the AIM Financial Statements and an announcement titled

“Acquisition of MDRX Medical Billing LLC” dated February 10, 2016, on February 10, 2016,

CHT acquired MDRX Billing LLC (“MDRX”), an alleged billing practice management

company, for $28.0 million with a further $2.0 million in cash due upon completion of certain

targets. As a result of this transaction, Orion became the parent company of MDRX. However,

as discussed below, upon information and belief, MDRX is an entity created by certain members

of the Debtors’ former management that conducted no business and had no assets.




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                              g. Allegiance Acquisition

           27.          According to an announcement titled “Acquisition of VEGA Medial

Professionals LLC” dated September 23, 2016 (the “September 23 Announcement”), CHT

Acquired Vega Medical Professionals LLC (“Vega”), an RCM business, for a maximum

consideration of $24.0 million including certain consideration in the form of earn outs. 78% of

the maximum consideration was to be paid in cash and 22% in CHT shares. As a result of this

transaction, Orion became the parent company of Vega, which in turn owns two operating

subsidiaries:          Allegiance Consulting Associates LLC (“ACA”) and Allegiance Billing &
                                                                                  10
Consulting LLC (“ABC,” and together with ACA, “Allegiance”).                           Upon information and belief,

while Allegiance operates a legitimate RCM business, the purchase price was significantly
                                                                                       11
overstated by certain members of the Debtors’ former management.

           28.          As a result of the foregoing transactions, before the go-private transaction

discussed below, CHT was the immediate holding company of Orion, which was in turn the

immediate or intermediate holding company of eight (18) subsidiaries that formed the enterprise

at that time, which included IPS, MBS, Rand, RMI, Western Skies, NEMS Acquisition,

NEMSLLC, NEMSWV, PPP HoldCo, PPP OpCo, Northstar FHA, Northstar FH, Vachette,
                                                    12
Phoenix, MDRX, Vega, ACA, and ABC.

                 iv.     The Go-Private Transaction

           29.          According to a “Publication and [P]osting of Proxy Statement and Notice of

10
  The September 23 Announcement only references Vega, the holding company believed to have been created by
Parmar, and does not reference Allegiance, the operating company. According to the transaction documents, the
acquisition of Allegiance occurred on September 1, 2016.
11
 The transaction documents for the Allegiance acquisition indicate that the maximum purchase price for Allegiance
was $4.68 million.
12
     See Exhibit A hereto for a depiction of the Debtors’ organizational structure.




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General Meeting,” dated December 28, 2016, on November 25, 2016, CHT and CHT Holdco,
                              13
LLC (“CHT Holdco”)                 announced that they had reached agreement on the terms of a

recommended acquisition under which CHT Holdco was to acquire CHT at an acquisition price

of $2.93 cash and $0.43 in promissory notes per share, pursuant to the terms of an agreement and

plan of merger dated November 24, 2016 (the “Merger Agreement”) between CHT, CHT
                                     14                                      15
Holdco, CHT Mergersub, Inc. , Orion, and a private equity firm.

           30.         On December 28, 2016, CHT issued a “Publication and [PC ]osting of Proxy

Statement and Notice of General Meeting” to its shareholders recommending the approval of the

transaction contemplated by the Merger Agreement. On January 18, 2017, CHT announced that

at a general meeting held on that day, CHT’s shareholders approved the Merger Agreement. On

January 26, 2017, CHT announced that in connection with the Merger, it requested a suspension

of trading of its shares.

           31.         On January 30, 2017, CC Capital CHT Holdco, LLC (“Sponsor Holdco”), an

affiliate of the Sponsor, obtained a controlling interest in CHT Holdco (CHT’s parent) pursuant

to the Merger Agreement and a Subscription Agreement (the “Subscription Agreement”). The

merger was a “go private transaction” structured such that Sponsor Holdco, a special purpose

entity managed by the Sponsor would own a controlling interest in CHT Holdco, with the

remaining interest in CHT Holdco owned by Alpha Cepheus, LLC (“Alpha Cepheus”), an entity

which is, upon information and belief, controlled by Parmar (the “Merger”). The Merger

resulted in the Sponsor owning a controlling interest in CHT (through CHT Holdco).


13
     As discussed below, CHT Holdco is owned by entities controlled by CC Capital and Parmar.
14
     As part of the Merger, CHT Mergersub, Inc. merged into CHT.
15
     CC Capital Management, LLC (the “Sponsor”) was party to the Merger Agreement for a limited purpose.




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           32.         To finance the Merger, (i) the Sponsor contributed approximately $82.5

million of cash (as equity) to CHT Holdco, (ii) CHT obtained $130.0 million in financing from

the Lenders (plus a $15.0 million commitment) pursuant to the Credit Agreement discussed

below, and (iii) CHT issued unsecured promissory notes to its shareholders in the amount of

approximately $39.6 million. Upon information and belief, in connection with the Merger, based

on representations made by certain members of the Debtors’ former management, the parties
                                                                            16
valued CHT at $309.4 million, or approximately $3.36 per share.

                  v.    NYNM Acquisition

           33.         In March 2017, Orion, through NYNM Acquisition, LLC (“NYNM

Acquisition”), acquired the membership interests in New York Network Management, L.L.C.

(“NYNMLLC”) and its subsidiaries (a) Network Management Insurance Brokerage Services

LLC (“NYNM Insurance”), (b) New York Network IPA, Inc. (“IPA 1”), (c) New York Premier

IPA, Inc. (“IPA 2”), (d) Brooklyn Medical Systems IPA 3, Inc. (“IPA 3”), (e) Brooklyn Medical

Systems IPA 4, Inc. (“IPA 4”), and (f) Brooklyn Medical Systems IPA 5, Inc. (“IPA 5” and
                                                                                                             17
together with NYNMLLC, NYNM Insurance, IPA 1, IPA 2, IPA 3, and IPA 4, “NYNM”).                                   In

connection with the NYNM acquisition, the Debtors borrowed approximately $30.0 million

under the Prepetition Credit Agreement discussed below, the majority of which was used to

finance the NYNM acquisition.




16
   Certain entities under Parmar’s control contributed shares in CHT to CHT Holdco. The parties valued the cash
portion thereof ($2.93 per share) at $72.8 million. Upon information and belief, CHT did not distribute any cash on
account of such shares. However, CHT did issue promissory notes to Parmar or entities under his control on
account of such shares. CHT did distribute cash on account of other shares owned by Parmar-controlled entities,
including the seized funds discussed below.
17
     NYNM have not filed chapter 11 petitions at this time.




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             vi.   Negotiations with and Loan to NACO

       34.         On August 24, 2017, CHT entered into a certain letter of intent (the

“NACO LOI”) and loan and security agreement (the “NACO Loan Agreement”) with National

ACO, LLC (“NACO”), a physician services provider. Pursuant to the NACO LOI, CHT

proposed the acquisition, by one of its subsidiaries, of the outstanding equity securities of NACO

and National MSO, LLC (“NMSO”) (the “NACO Transaction”). The NACO LOI contemplated

that the consideration for the proposed NACO Transaction would consist of an initial sum of

$9.5 million, plus certain earn-out payments and that the NACO Transaction would close within

90 days after the execution of the NACO LOI.

       35.         In connection with the NACO LOI, CHT, NACO and NMSO entered into the

NACO Loan Agreement, pursuant to which CHT agreed to lend an aggregate principal amount

of up to $4.3 million to be used solely by NACO and NMSO in order to fund security bonds in

favor of the Centers of Medicare and Medicaid Services of the U.S. Department of Health and

Human Services (the “NACO Loan”). If the NACO Transaction proceeded, the loan would be

repaid from the capital contribution to NACO and NMSO. As security for the loan, NACO and

NMSO granted CHT security interests in certain collateral, including, but not limited to

receivables, equipment, fixtures, general intangibles, inventory, investment property, deposit

accounts, cash, and goods.

       36.         In connection with the NACO Loan, NACO executed two warrant instruments

in favor of CHT. In addition, certain shareholders of NACO and NMSO guaranteed the NACO

Loan and granted CHT security interests in their shares in NACO and NMSO. Because the

NACO Transaction did not close, the NACO Loan Agreement matures on August 24, 2019.

       37.         On September 1, 2017, NACO and NMSO submitted an Advance Request to



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CHT in the amount of $2.0 million, which amount was funded. On September 30, 2017, NACO

and NMSO requested submitted a second Advance Request in the amount of $600,000 to be

released on October 2, 2017 (the “Second Advance Request”). On October 17, 2017, CHT

indicated to NACO that it was not ready to fund the Second Advance Request. Subsequently,

NACO sent a letter to CHT declaring a breach of the NACO Loan Agreement and cancellation

of the NACO LOI. As of the Petition Date, NACO and NMSO owe CHT not less than $2.0

under the NACO Loan Agreement.

                vii.         Sale of Vachette
                                                                                                       18
          38.            On February 22, 2018, Vachette sold substantially all of its assets                to

Ambiorix, LLC, an entity designated by Marko Raich, the former owner of Vachette, for $2.0
          19
million.

                B. Organizational Structure

          39.            As a result of the foregoing transactions, and as reflected in the organizational

chart attached hereto as Exhibit A, CHT, an Delaware corporation, directly owns 100% of the

interests in Orion, a Delaware corporation, which in turn owns 100% of the interests in:

                       (1)     IPS, a Delaware corporation that operates the Debtors’ PPM and GPO
                               businesses;

                       (2)     MBS, a Texas corporation that operates as part of the Orion RCM Business
                               (as defined below);

                       (3)     Rand, a California corporation that operates as part of the Orion RCM
                               Business;

                       (4)     RMI, a Texas corporation that operates as part of the Orion RCM Business;



18
     Vachette retained approximately $200,000.00 in accounts receivable.
19
     As discussed above, the Debtors initially purchased Vachette for approximately $2.8 million.




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                    (5)    Western Skies, a Colorado corporation that operates as part of the Orion
                           RCM Business;

                    (6)    NEMS Acquisition, a Delaware limited liability company which acts as a
                           holding company for NEMSLLC and NEMSWV, which are Pennsylvania
                           limited liability companies that operate as part of the Orion RCM Business;

                    (7)    PPP HoldCo, a Delaware limited liability company which acts as a holding
                           company for PPP OpCo, a Delaware limited liability company that operates
                           as part of the Orion RCM Business,

                    (8)    Northstar FHA, a Delaware limited liability company which acts as an
                           holding company for Northstar FH, a Delaware limited liability, which in
                           turn acts as a holding company for Vachette, an Ohio limited liability
                           company;

                    (9)    Phoenix, a Delaware limited company which is, upon information and
                           belief, an entity that was the subject of a sham acquisition;

                    (10) MDRX, a Delaware limited liability company which is, upon information
                         and belief, an entity that was the subject of a sham acquisition;

                    (11) Vega, a Delaware limited liability company which acts as a holding
                         company for ACA and ABC, which are New York limited liability
                         companies that operate the Allegiance RCM business; and

                    (12) NYNM Acquisition, a Delaware limited liability company, which acts as a
                         holding company for NYNM LLC, a New York limited liability company,
                                                                   20
                         which in turn owns NYNM Insurance, a New York limited liability
                         company, and IPA 1, IPA 2, IPA 3, IPA 4, and IPA 5, which are all New
                                                                                        21
                         York corporations that together operate the NYNM IPA Business.

                 C. The Debtors’ Business Lines

           40.          As discussed below and as reflected in the Debtors’ organizational chart

attached hereto as Exhibit A, the Debtors operate several business lines.




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  I have been informed that there is an individual, Lee Bialostok, who is a licensed insurance agent and owns one
share in NYNM Insurance, constituting less than one percent of that entity. However, I have not seen any
documentation indicating that Mr. Bialostok has an interest.
21
     The entities directly and indirectly owned by NYNM Acquisition are not filing chapter 11 petitions at this time.




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             i.    Orion RCM Business

       41.        The Debtors operate a revenue cycle management business, which provides

hospital-based and office-based physicians with medical billing and services, giving them more

time to focus on patient care (the “Orion RCM Business”). These services include coding,

reimbursement services, charge entry, claim submission, collection activities, and financial

reporting services. These services are designed to help clients by improving cash flows and

reducing administrative costs and burdens.      MBS, Rand, RMI, Western Skies, NEMSWV,

NEMSLLC, and PPP OpCo all operate as part of the Orion RCM Business to provide RCM

services to physician practices throughout the country.

       42.        The Orion RCM Business operates out of 6 locations with operations in: (a)

Simi Valley, California, (b) Lakewood, Colorado, (c) Houston, Texas, (d) Monroeville,

Pennsylvania, (e) Parkersburg, West Virginia, and (f) Jericho, New York.            Each location

manages and services its own customer base and handles its own “front office” operations and

relationships. Institutional knowledge about each customer (and relevant payor rules) rests with

each US-based team at each location. The Orion RCM Business services approximately 170

customers.

       43.        The Orion RCM Business provides RCM services on the basis of a percentage

of net collections. Fees range from 5% to 15% of net collections, depending on specialty and

size of practice. All system set up and implementation fees are included in the base rate.

       44.        PPP OpCo contracts with Porteck India Infoservices Private Limited

(“Porteck India”) a company based in India, which exclusively supplies much of the “arms and

legs” for the bulk of “back office” of the activities of the Orion RCM Business, such as claims

preparation, charge entry, coding, A/R follow-up, denials management, and cash posting. Upon



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information and belief, Porteck India is owned and operated by family members of Arvind

Walia, Orion’s CEO. Porteck India is compensated at a rate of cost plus eight percent (8%).

PPP OpCo previously held an option to purchase Porteck India for nominal consideration, which

option expired on March 31, 2017. According to its contract with PPP OpCo, Porteck India was
                                                                                              22
to hold a security deposit of $400,000.00. Porteck India is generally paid by PPP OpCo twice a

month. There is an initial funding at the beginning of the month and a true up payment later in

the month based on an invoice received from Porteck India. Monthly invoices range from

approximately $297,000.00 to $488,000.00 and has averaged approximately $384,000.00 per

month.

          45.          Challenges with services provided by Porteck India resulted in the loss of

approximately 100 clients over the last two years with only a few additions of new customers.

Furthermore, certain operational challenges with Porteck India have caused additional strain on

the customers and employees of the Orion RCM Business.

                ii.    Allegiance RCM Business

          46.          Debtors ACA and ABC operate an RCM business (the “Allegiance RCM

Business”) similar to Orion RCM Business. The Allegiance RCM Business provides services to

hospital-based physician practices only and operates as a standalone RCM business that is not

integrated with the rest of the Debtors’ businesses.

                iii.   Physician Practice Management Business

          47.          Debtor IPS operates a physician practice management (“PPM”) business,

which provides business and practice management services exclusively to certain primary care

and subspecialty pediatric practices (the “PPM Business”). Through this segment, the Debtors
22
     The payments are sometimes made from Orion’s operating account.




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provide accounting and bookkeeping, human resource management, group purchasing, accounts

receivable management, quality assurance services, physician credentialing, fee schedule review,

training and continuing education, and billing and reimbursement analysis for physician

practices.

       48.         Specifically, IPS is party to three management service agreements (“MSAs”)

with three physician groups (the “Physician Groups”) that provide services to patients at six (6)

locations in Illinois and Ohio. The MSAs were entered into in 1998 and 1999 and are for a term

of forty (40) years. Pursuant to the MSAs, IPS manages the day-to-day business operations of

the Physician Groups, including furnishing the Physician Groups with appropriate facilities,

equipment, supplies, support services and administrative support staff. The physicians are all

employed by separate entities.

       49.         IPS (through Orion) pays for certain expenses of the Physician Groups, as

specified in the MSAs. Receivables generated by the Physician Groups are billed by IPS. IPS is

entitled to a management fee of fifteen percent (15%) of the Net Operating Income (as defined in

the MSAs) of the Physician Group. The remaining eight-five percent (85%) is distributed to the

Physician Groups on the 15th day of the following month, from which the Physician Groups pay

certain expenses as specified in the MSAs. Receivables of the Physician Groups are collected by

IPS (typically after monthly expenses are paid and payments are made to the Physician Groups)

and the management fee is collected from the excess of collections over expenditures (which

should amount to fifteen percent (15%) of Net Operating Income).

             iv.   Group Purchasing Organization Business

       50.         IPS also operates the Debtors’ group purchasing organization (“GPO”)

business segment, which allows eligible physicians to participate in discounts for vaccines and



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flu shots offered by certain pharmaceutical companies with which IPS has strong relationships.

In exchange for IPS connecting the pharmaceutical companies with eligible physicians, IPS

receives an administrative fee from the relevant pharmaceutical companies to the Group for

administering the GPO, typically being a percentage of net sales achieved. The GPO’s primary

relationships are with pharmaceutical companies Merck and Sanofi and it provides GPO services

to roughly 4,000 physicians.

                 v.         NYNM IPA Business

          51.              NYNM operates an independent practice association (“IPA”) business (the

“NYNM IPA Business”), which is organized and directed by physicians in private practice to

negotiate contracts with insurance companies on their behalf while such physicians remain

independent and which also provides other services to such physician practices. IPA 1 and IPA
                                23
2 (the “NYNM IPAs”) contract with insurance companies (“Payors”) to maintain a network of

physicians to provide services to enrollees of the Payors. The NYNM IPAs in turn contract with

independent physicians in New York to provide services to members of the Payors on a

negotiated fee basis. The NYNM IPA Business uses a single tax ID, which allows NYNM to

negotiate better rates from the Payors for the physicians.

          52.              The NYNM IPAs receive reimbursement directly from the Payors on behalf of
                      24
the physicians.              The NYNM IPAs take a fee for such services, typically in the range of

approximately ten to twelve percent (10-12%) of the fees collected by the NYNM IPA Business,

before remitting the remaining eighty-eight to ninety percent (88-90%) to the physicians. Fees

collected by the NYNM IPAs flow up to NYNM LLC.

23
     IPA 3, IPA 4, and IPA 5 do not operate.
24
     Certain payments are received by NYNM LLC.




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       53.           Pursuant to a Claim Services Agreement, NYNM LLC contracts with

CareCore National, LLC (known as “eviCore healthcare”), which provides the “back office”

services to the NYNM IPA Business, including the submission of claims to providers and

facilitating the payments to the physicians.

       54.           Pursuant to a Co-Brokerage and Marketing Services Agreement, NYNM

Insurance has an arrangement to act as a sub-broker for Alliant Insurance Services, Inc. and to

receive 28.5% to 37.5% (depending on the referral) of the commission for certain insurance it

sub-brokers. NYNM Insurance’s operations are still in the early stages and NYNM Insurance

had no revenue in 2017.

              vi.     Vachette Consulting Business

       55.           Debtor Vachette previously operated a consulting business for pathology

practices (the “Vachette Business”). The Vachette Business externally managed and audited

third-party billing services, negotiated managed care contracts, and assisted with business

management.         The Vachette Business did not perform billing services and operated as a

standalone business and was not integrated with the rest of the Debtors’ businesses.

       56.           As set forth above, on February 22, 2018, Vachette sold its assets to Ambiorix,

LLC, an entity designated by Marko Raich, the former owner of Vachette, for $2.0 million.

             D. The Debtors’ Prepetition Capital Structure

       57.           As part of the overall Merger transaction, Orion entered into that certain Credit

Agreement, dated as of January 30, 2017 (as amended, modified or supplemented from time to

time, the “Prepetition Credit Agreement”), by and among Orion, as Borrower, the guarantors that

are party thereto (which, as of the Petition Date, include the remainder of the Debtors and

NYNM) (the “Guarantors” and together with Orion, the “Loan Parties”), the lenders party



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thereto from time to time (the “Lenders”) and Bank of America, N.A., as Administrative Agent,

L/C Issuer and Swingline Lender (“Bank of America” or “Administrative Agent”).

       58.          As security for the payment of Orion’s obligations under the Prepetition Credit

Agreement, the Guarantors jointly and severally guaranteed the obligations thereunder.

Additionally, pursuant to that certain Security Agreement, dated January 30, 2017 (the

“Security Agreement”) the Loan Parties pledged as collateral first priority liens in all of their

property (other than Excluded Property, as such term is defined in the Prepetition Credit

Agreement). Additionally, pursuant to that certain Pledge Agreement, dated January 30, 2017

(the “Pledge Agreement”), the Loan Parties pledged as collateral 100% of the equity interests in

each of their subsidiaries.

       59.          As of the Petition Date, the Loan Parties’ total secured debt obligations to the

Lenders under the Prepetition Credit Agreement and related documents totaled approximately

$159.3 million of principal consisting of obligations under the Term Loans and the Bridge Loan

(as such terms are defined below) (collectively, the “Senior Debt Obligations”). The Senior Debt

Obligations are described in greater detail below.

              i.    Revolving Loans

       60.          Subject to the terms and conditions set forth in the Prepetition Credit

Agreement, each of the Lenders severally agreed to make loans (each such loan, a “Revolving

Loan”) to Orion in an aggregate amount not to exceed $15.0 million (the “Aggregate Revolving

Loan Commitment”). The Revolving Loans have a maturity date of January 30, 2022 (the

“Maturity Date”).

       61.          Pursuant to the Second Amendment (as defined below), the Revolving

Commitments of the Lenders terminated. As of the Petition Date, the Loan Parties did not owe



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any amounts to the Lenders on account of the Revolving Loans.

             ii.    The Term Loans

       62.          In addition to the Revolving Loans, each of the Lenders severally agreed to

make its portion of a term loan to Orion in an aggregate amount of $130.0 million (the “Initial

Term Loan”). Unless accelerated sooner pursuant to the Prepetition Credit Agreement, Orion is

obligated to repay the outstanding principal of the Initial Term Loan in quarterly installments,

with the outstanding principal balance of the Initial Term Loan payable on the Maturity Date.

       63.          On March 10, 2017, in connection with the NYNM acquisition, the Loan

Parties, the Administrative Agent, and certain of the Lenders (the “Incremental Term Increase

Lenders”) entered into that certain Incremental Term Increase Agreement and Lender Joinder

Agreement (the “Incremental Facility Amendment), pursuant to which the Incremental Term

Increase Lenders agreed to increase the Initial Term Loan by the amount of $30.0 million (the

“Incremental Term Loans”).

       64.          As of the Petition Date, the total amount owed to the Lenders by the Loan

Parties on account of the Terms Loans and Incremental Term Loans totaled not less than $156.61

million in outstanding principal and $1.59 million in interest.

             iii.   The Letters of Credit

       65.          Pursuant to the Prepetition Credit Agreement, Bank of America agreed to issue

certain letters of credit (the “Letters of Credit”) for Orion or any of its subsidiaries, provided that,

among other things, the amount outstanding under the Letters of Credit together with amounts

outstanding under the Revolving Loan and the Swing Line Loans does not exceed $15.0 million.

       66.          As of the Petition Date, the total amount owed to the Lenders by the Loan

Parties on account of the Letters of Credit totaled $0.



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               iv.    The Swing Line Loans

        67.          In addition to the Revolving Loan, Term Loan and Letters of Credit, Bank of

America agreed to make loans to Orion in its sole discretion in an aggregate amount not to

exceed $5.0 million (the “Swing Line Loans”), provided that, among other things, the amount

outstanding under the Swing Line Loans together with amounts outstanding under the Revolving

Loan and the Letters of Credit does not exceed $15.0 million. The Swing Line Loans have a

maturity date of the earlier of (a) 10 business days after a Swing Line Loan is made and (b) the

Maturity Date.

               v.     The Forbearance Agreement

        68.          As a result of certain defaults under the Prepetition Credit Agreement, on

November 10, 2017, the parties to the Prepetition Credit Agreement entered into that certain

Forbearance Agreement dated as of November 10, 2017 (as extended by that certain Forbearance

Extension Agreement dated as of December 15, 2017 and further extended by that Second

Forbearance Extension Agreement dated as of January 30, 2018, the “Forbearance Agreement”)

under which the Administrative Agent and Lenders (as defined in the Prepetition Credit

Agreement) agreed to forbear from exercising their rights and remedies under the Prepetition

Credit Agreement during the Forbearance Period (as such term is defined in the Forbearance

Agreement, which pursuant to the Second Forbearance Extension Agreement, expired on March
                                                                                                      25
9, 2018) pursuant to the terms and conditions set forth in the Forbearance Agreement.

        69.          In connection with the Second Forbearance Extension Agreement and pursuant


25
   On November 10, 2017, in connection with the Forbearance Agreement, the Loan Parties and the Administrative
Agent entered into that certain Amendment to Security Agreement, pursuant to which the Loan Parties granted to
the Administrative Agent for the benefit of the Lenders a security interest in certain commercial tort claims related
to, among other things, the sham acquisitions of Phoenix and MDRX.




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to the Credit Agreement, among other covenants, on or before January 31, 2018, the Loan Parties

were required to make a prepayment in an amount equal to $2.9 million in respect of a tax refund

received by the Loan Parties on or about January 15, 2018. Additionally, the Loan Parties

agreed, upon request by the Administrative Agent, to engage an investment banker reasonably

acceptable to the Administrative Agent and Lenders, for the purpose of marketing some or all of

the assets of the Loan Parties.

             vi.   The Bridge Loan

       70.         On January 31, 2018 (the “Bridge Loan Closing Date”), after the Borrower

requested additional funding, the parties to the Prepetition Credit Agreement entered into that

certain Second Amendment to Credit Agreement (the “Second Amendment”), pursuant to which

the Bank of America (the “Bridge Lender”) agreed to provide additional extensions of credit

under the Prepetition Credit Agreement in the form of a separate tranche of terms loans in the

aggregate principal amount of $1.5 million (the “Bridge Loan Commitment”), the proceeds of

which were to be used to finance the short-term working capital needs of Orion (the “Bridge

Loan”). The Bridge Loan has a maturity date of March 9, 2018 (the “Bridge Loan Maturity

Date”). The Second Amendment contemplated that the Vachette Business would be sold for an

amount of not less than $1.5 million.

       71.         In exchange for the Bridge Loan, Orion agreed to pay to the Administrative

Agent, for the account of the Bridge Lender in accordance an upfront fee in an amount equal to

2.0% of the Bridge Loan (the “Bridge Loan Upfront Fee”). In accordance with the Second

Amendment, the Bridge Loan Upfront Fee is due and payable upon the earliest to occur of the

Bridge Loan Maturity Date or the acceleration of any Obligations under the Loan Documents.

       72.         On February 22, 2018, the parties to the Prepetition Credit Agreement entered



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into that certain Third Amendment to Credit Agreement (the “Third Amendment”), pursuant to

which the Bridge Lender agreed to increase the Bridge Loan Commitment to $3.0 million.

Furthermore, the Third Amendment provides that the aggregate Bridge Loan Commitments shall

be automatically reduced to $1.0 million upon the sale of the Vachette Business. Additionally,

pursuant to the Third Amendment, the Loan Parties agreed to appoint an additional, independent

director over CHT.

       73.          In exchange for increasing the Bridge Loan Commitment, Orion agreed to pay

to the Administrative Agent, for the account of the Bridge Lender in accordance an upfront fee in

an amount equal to 2.0% of the increase of the Bridge Loan Commitment, which is due and

payable upon the earliest to occur of the Bridge Loan Maturity Date or the acceleration of any

Obligations under the Loan Documents.

       74.          As of the Petition Date, the total amount owed to the Lenders by the Loan

Parties on account of the Bridge Loan totaled not less than $1.0 million in principal and

approximately $11,764 in interest.

             E. Resignation of Parmar and Subsequent Events and Discoveries

               i.   Resignation of Parmar and Other Board Members and Retention of
                    Professionals

       75.          At a meeting of the Board of Directors of CHT (the “Board”) on September 14,

2017, the Board accepted Parmar’s resignation as CEO of CHT and its subsidiaries.

       76.          On September 28, 2017 the FTI Investigations Group was retained to conduct a

forensic investigation, following questions raised related to CHT’s financial condition.

       77.          At a subsequent board meeting on September 29, 2017, which was attended by

members of FTI’s forensic accounting teams, Parmar addressed the Board and stated that MDRX

was not performing.


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       78.        After Parmar addressed the Board’s questions, he informed the Board that he

would be resigning his position as a director and/or manager of CHT, all of its subsidiaries and

CHT Holdco, effective immediately, so the Board could make decisions without his

involvement. Parmar then excused himself from the Board meeting.

       79.        At the same meeting, another Board member, Pav Bakshi (“Bakshi”) addressed

the Board and tendered his resignation effective immediately and excused himself from the

Board meeting.    At the September 29 Board meeting, among other resolutions, the Board

(i) authorized the retention of Troutman Sanders LLP (“Troutman”) as legal counsel and FTI as

financial and accounting advisor, (ii) accepted the resignations of Parmar and Bakshi from the

Board, and (iii) placed Sotirios “Sam” Zaharis (“Zaharis”) and Ravi Chivukula (“Chivukula”) on

administrative leave pending further investigation.

       80.        At a subsequent Board meeting on October 2, 2017, it was decided that CHT

would hire Troutman as counsel. At that same meeting, the Board recommended that the

Debtors retain me as interim CEO and CRO. The Board resolved that among other things, (i) to

authorize the retention of Aequum Law, LLC (“Aequum”) as legal counsel for the limited

purpose of assisting CHT with the engagement and coordination of legal counsel in connection

with the investigation, general corporate, restructuring and litigation matters, and (ii) that the

Board was authorized to negotiate my engagement as interim CEO and CRO.

       81.        On October 2, 2017, CHT retained Troutman as counsel. On October 3, 2017,

Troutman engaged FTI as forensic accountant on behalf of CHT.

       82.        At the next Board meeting on October 18, 2017, the Board authorized and

ratified my retention as CEO and CRO to CHT and its subsidiaries.

       83.        Due to a Troutman conflict issue that could not be resolved, on October 23,



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2017, CHT engaged DLA Piper LLP (US) (“DLA”) as legal counsel. On October 23, 2017,

DLA, as successor to Troutman, retained FTI as forensic accountant. On November 7, 2017,

CHT engaged Aequum as legal counsel.

        84.           After October 23, 2017, Troutman’s representation of CHT was limited to

appearing in a proceeding in Delaware Chancery Court on behalf of CHT, the Sponsor, and other

affiliated parties.

        85.           At Board meetings on November 10, 2017 and January 29, 2018, the Board

accepted the resignation of three additional Board members, leaving two Board members

remaining.

        86.           On February 23, 2018, as required by the Credit Agreement (as amended by

the Third Amendment), the Board appointed Robert J. Rosenberg as an independent director.

        87.           On March 13, 2018, Aequum’s withdrew from its representation of the

Debtors. On March 14, 2018, Troutman formally notified CHT it no longer represents CHT.

              ii.     Discoveries After Parmar’s Resignation

        88.           After Parmar’s disclosure and resignation and the retention of FTI and DLA,

the professionals, including a forensic team from FTI (the “FTI Investigations Team”), began an

investigation into the Debtors’ former management’s activities. This investigation is ongoing

and has been limited by the lack of information, including the retention of records that are upon

information and belief, held by Robinson Brog Leinwand Greene Genovese & Gluck, P.C.

(“Robinson Brog”), former counsel to the Debtors. As discussed below, based upon information

and belief, certain members of the Debtors’ former management engaged in multiple fraudulent

transactions while CHT was publicly listed and went through great efforts to perpetuate and

conceal such activities, including fabricating certain customers and associated revenue, as well as

bank statements, of certain entities.       These activities were only recently discovered.    The

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following is an overview of certain of the facts discovered by such investigation. My knowledge

regarding the results of such investigation is primarily based upon information received from the

FTI Investigations Team.

                        a. Generally

       89.        The investigation has revealed that CHT’s financial statements for 2015 and

2016, including those filed with AIM and those provided to the Sponsor and to Sponsor Holdco,

were inaccurate. Specifically, revenue and EBITDA were inflated in significant amounts. In

addition to the fictitious acquisitions discussed below, the investigation has revealed that a

substantial number of the customers and associated revenue of the Orion RCM Business were

fabricated. Based upon information and belief, Parmar, Zaharis, and Chivukula, in concert with

each other (and, possibly, others), altered documents or created false documents, apparently for

the purpose of creating the appearance of actual customers, revenue, and business operations,

when, in fact, no such customers, revenue, or business operations existed.

       90.        Specifically, the investigation has revealed that certain of CHT subsidiaries

(which are Debtors), which were represented to be operating businesses with their own

customers and revenue, are fictitious, in that they have no business operations, employees,

customers, or revenue. These fictitious subsidiaries include MDRX, Phoenix, and Northstar,

which, upon information and belief, were the subject of sham acquisitions.        Each of these

purported acquisitions was funded with money raised by CHT in the secondary offerings of its

stock through the AIM (that are discussed above). However, rather than funding the purchase of

an actual operating business, the money raised by CHT was used for other purposes, including

apparent misappropriation and the funding of a scheme to create the impression of revenue from

fictitious customers.



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       91.        During the course of the investigation, the FTI Investigations Team discovered

two CHT bank accounts that were previously unknown to the current management.              Such

accounts were maintained at M&T Bank (collectively, the “M&T Accounts”), including a money

market account (“M&T Money Market Account”) and a checking account (“M&T Checking

Account”) and were used for the fraudulent activities discussed below. The M&T Accounts are

relevant to the discoveries discussed below.

                       b. Northstar and Phoenix Sham Acquisitions

       92.        The FTI Investigations Team has identified journal entries that were recorded

in CHT’s general ledger that misrepresent what was actually acquired and created the impression

of an acquisition of a significantly larger entity. In May 2015, CHT raised funds through a

secondary offering on AIM. $15.8 million of the proceeds of this offering were deposited into

the M&T Checking Account. CHT issued a press release on September 16, 2015 announcing its

acquisition of Northstar FH for $18 million. The press release describes Northstar FH as an

operating company that has 233 employees, 77 clients, and 2014 year end revenue of $7.9

million. However, Northstar FH was formed on June 12, 2015.

       93.        On September 2, 2015 – i.e., two weeks prior to the press release announcing

the Northstar acquisition – Northstar FH acquired Vachette for $2,785,000. According to CHT’s

Consolidated Financial Statements for the Year-Ended December 31, 2016, CHT acquired

Northstar for a total consideration of $17.4 million in September 2015, almost $15.0 million more

than the amount Northstar paid that same month for Vachette, which appears to be the only

legitimate business in the Northstar group of companies as of that date.

       94.        On September 18, 2015, two days after the announced Northstar transaction,

CHT announced its acquisition of Phoenix, describing the company as employing 138 people



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and generating revenue of $9.8 million, EBITDA of $2.2 million, with net assets of $1.1 million

as of December 31, 2014. CHT’s 2016 Financial Statements indicate that CHT “acquired certain

Revenue Cycle Management company assets hereinafter Phoenix, based out of New Jersey,

USA” for $13.66 million. However, the investigation has revealed that a bank account and EIN

for Phoenix were not obtained until after the acquisition.

       95.         Journal entries in the CHT general ledger indicate recorded payments of $8.5

million and $7.5 million on September 30, 2015 for the purchase of Northstar and Phoenix,

respectively. However, the activity in the bank statements for the M&T Accounts indicates that

the $15.8 million in proceeds from the secondary offering were disbursed in multiple

transactions over the next six months that do not appear to relate to the purchase of Phoenix or

Northstar.

       96.         The bank statements for the M&T Accounts provided limited details with

respect to each of the transfers of the equity raise proceeds from the M&T Accounts. While some

of the specific transferees are identified in the bank statements, the majority of the transfers and

withdrawals are non-descriptive. FTI’s investigation of the use and destination of these monies

is ongoing. However, the FTI Investigations Team has discovered evidence that suggests that

what is described as the Phoenix acquisition, may be an acquisition of or payment to Sage Group

Consulting Inc. (“Sage”). Upon information and belief, Sage is a consulting firm operated by

Salil Sharma (“Sharma”). Upon information and belief, Sage is not an RCM business. CHT has
                                                                                                             26
limited knowledge as to the facts and circumstances surrounding the potential Sage acquisition.




26
  The asset purchase agreement pursuant to which Phoenix purportedly acquired the assets of Sage states that the
purchase price consists of a closing payment of $7.5 million plus certain other consideration.




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                        c. MDRX Sham Acquisition

        97.        As discussed above, in January 2016, CHT raised funds in a secondary

offering, which was earmarked for the acquisition of MDRX. $36.9 million of proceeds from the

equity raise were deposited into the M&T Money Market Account on January 8, 2016 and, on

the same day, the balance was transferred to the M&T Checking Account.

        98.        CHT announced that it acquired MDRX on February 10, 2016. The M&T

Checking Account statement indicates that the $36.9 million was transferred to various recipients

over the next six months, and none of the transfers correlate to the entry in the general ledger

indicating that these funds were used for the acquisition payment for the fictitious MDRX.

While some of the specific transferees are identified in the bank statements, the majority of the

transfers and withdrawals are non-descriptive. The investigation has revealed that approximately

$4.0 million of the above disbursements were used to create fictitious customer revenue through

the re-characterization of inter-bank transfers as customer collections.

                        d. Vega/Allegiance Acquisition

        99.        During the Summer of 2016, CHT engaged in negotiations with the then-

owners of ACA and ABC regarding CHT’s acquisition of ACA and ABC. On September 1,

2016, CHT, through a holding company, Vega, acquired both ACA and ABC for a combined

sum of $4.68 million. Subsequently, CHT reported that it acquired Vega for $24.0 million.

        100.       Based on the investigation to date, the ACA/ABC acquisition by Vega appears

to be legitimate; however, CHT’s acquisition of Vega on the same date appears to be an

artificially inflated transaction.

                        e. Non-Existent Customers

        101.       To date, the FTI Investigations Team has determined that certain portions and



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in some cases all, of the customers and associated revenue of MDRX, Orion, and Phoenix are

fictitious - i.e., nonexistent.

                         f. Fictitious Revenue/Customer Receipts

        102.        To date, the FTI Investigations Team has determined that the revenue

associated with the fictitious MDRX, Phoenix, and Orion entities and customers discussed above

totaled approximately $30.9 million for the six month period ended June 30, 2016. FTI’s

investigation has revealed that, upon information and belief, Parmar and his associates worked to

support the fictitious revenue for the non-existent customers by creating the appearance of

collected cash. This was accomplished in at least two ways: (1) cash raised from the secondary

offerings was transferred from an M&T Account to an operating account and re-characterized as

customer receipts; and (2) Orion bank statements were altered to include fictitious entries (i.e.,

unsupported by any cash transfer) to create the illusion of customer deposits. In addition, the

FTI Investigations Team has discovered that MDRX’s bank statements and financial statements

were completely fabricated.

                         g. Financial Statement Misrepresentation

        103.        In connection with the six-month results for the period ending June 30, 2016

(i.e., Q2 2016) reported to the AIM and subsequently shared with the Sponsor in connection with

the Merger, upon information and belief, the financial activity related to fictitious entities and

fictitious customers gave rise to a significant overstatement of revenue and EBITDA.

                         h. Seized Funds

        104.        Certain of the proceeds of the Merger that were to be paid to Parmar or entities

under his control are subject to dispute in the action styled Destra Targeted Income Unit

Investment Trust, on behalf of Unitholders, et al. v. Parmjit Singh Parmar (a.k.a. Paul Parmar),



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et al., Del. Ch. No. 13006-VCL (the “Destra Litigation”), currently pending in the Delaware

Court of Chancery (the “Chancery Court”). Specifically, on December 27, 2016, the plaintiffs in

the Destra Litigation commenced the Destra Litigation by filing a verified complaint in the

Chancery Court seeking (1) a declaratory judgment as to the ownership of certain CHT shares

and invalidating certain transfers of CHT shares and any actions taken by Parmar and the other

defendants in the Destra Litigation regarding the conveyance, transfer, or encumbrance of CHT’s

shares; (2) asserting breaches of fiduciary duties and the aid and abetting thereof; (3) asserting

breaches of the “CH Group” and CHT operating agreements; and counts of fraudulent transfer,

conversion, unjust enrichment, and civil conspiracy and fraud. See Verified Complaint, Del. Ch.

No. 13006-VCL, (Dkt. No. 1).

       105.        By order dated January 25, 2017, the Chancery Court directed Parmar to
                                                                                                     27
deposit $55,267,485.28 of the cash proceeds from the Merger (the “YCST Funds”)                            in an

escrow account at the law firm Young Conaway Stargatt & Taylor (“YCST”).

       106.        Upon information and belief, on or about March 15, 2017, the FBI seized

approximately $20,100,356.70 from Robinson Brog’s IOLA, which upon information and belief,

contained certain of the Merger proceeds that were to be paid to Parmar-controlled entities. On

December 8, 2017, the FBI obtained a seizure warrant for the YCST Funds. At the request of the

Chancery Court, the Sponsor filed a motion to lift the preliminary injunction as to the YCST

Funds and to pay the administrative expenses of YCST, which is set for hearing on March 16,

2018. Upon the expected approval of said motion, the federal government will likely execute on


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  Upon information and belief, the YCST Funds were amounts intended for the benefit of Parmar for the equity in
CHT-related entities controlled by Parmar: Blue Mountain Healthcare, LLC (“Blue Mountain”) ($49,918,984.28)
and Alpha Cepheus ($5,348,501), and represented the maximum amount of damages the plaintiffs in the Destra
Litigation believed they were entitled to as a result of the Merger transaction.




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the YCST Funds. The Debtors may have an interest in such funds.

                      i. Tax Withholding

          107.    Upon consummation of the Merger, approximately 70% of the cash

consideration for the transaction was paid to certain shareholders of CHT (the “Cash-

Out Shareholders”). The remaining 30% of the cash consideration, $10,435,097.13 was withheld

for potential tax liabilities of the Cash-Out Shareholders and deposited with Capita, the registrar

and receiving agent for CHT in connection with the Merger (such funds, the “Withheld Funds”).

Upon information and belief, the Withheld Funds were not initially paid to the Cash-Out

Shareholders because Capita Registrars, Ltd. (n/k/a Link Market Services Ltd.) (“Capita”), the

exchange agent for the Merger, incorrectly believed the withholding was required under the

Foreign Investment in Real Property Tax Act of 1980, 26 U.S.C. § 1445, which mandates that a

percentage of the consideration paid for certain transactions be withheld and deposited with the

IRS, to which foreign shareholders may then submit a US tax return and potentially receive a

refund.

          108.    Upon information and belief, the Withheld Funds should have been remitted by

Capita to the IRS shortly after the transaction in February 2017. However, Capita required

certain shareholder information in order to remit the funds to the IRS and, based upon

information and belief, requested such information from Parmar and Chivukula. After those

requests went unanswered, Capita decided to transfer the Withheld Funds to CHT so that CHT

could remit the funds to the IRS with the requisite shareholder information.

          109.    On or around December 29, 2017, wired the Withheld Funds to Orion’s main

operating account at JPMorgan Chase Bank.

          110.    On or around January 16, 2018, to avoid potential liability (including potential



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criminal liability), CHT caused Orion to wire the funds to the IRS. On January 16, 2018, CHT

wrote a letter to the IRS stating that CHT and Orion believe that the Withheld Funds are the

proceeds of potentially fraudulent transfers and requesting that the IRS refrain from providing

any refunds until a court of competent jurisdiction determines the appropriate recipients.

II.    EVENTS LEADING TO BANKRUPTCY

       111.       Due to the foregoing events, namely debt service on approximately $160.0

million in debt with estimated, adjusted, annualized projected aggregate operating cash flow of

approximately $7 million to service such debt, as a result of the fraudulent conspiracy, the

Debtors have been facing liquidity challenges and operational issues that now threaten their

ability to operate as a going concern. In addition to the unsustainable debt service, among the

causes of such issues are: (a) a lack of integration between the business lines; (c) a lack of

management with institutional knowledge of the Debtors’ businesses; and (c) litigation brought

against the Debtors.

           A. Burdensome Debt Obligations

       112.       As set forth above, upon information and belief, based upon inflated value and

operations, certain members of the Debtors’ former management caused the Debtors to incur

approximately $130.0 million in debt to finance the Merger (which amount was later increased to

approximately $160.0 million). The Debtors, which are generating significantly less revenue and

earnings than believed at the time when they entered into the Prepetition Credit Agreement,

simply cannot sustain their current debt load.

           B. Lack of Integration Between Business Lines

       113.       As discussed above, the Debtors’ enterprise constitutes the aggregation of

several disparate businesses. The various business units were never integrated and retained



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legacy management, reporting and operating procedures.

       114.       The prior corporate management did not implement any true management or

operating processes across the Debtors’ business units. Furthermore, the Debtors’ business units

do not function in a cohesive manner or conduct any cross-selling. Additionally, the Orion RCM

Business has been operating at a loss.

       115.       The Debtors’ current management sees opportunity to fix these issues.

However, the Debtors do not currently have the liquidity to do so.

            C. Change in Leadership

       116.       While the Debtors’ current management has been focused on increasing the

long-term value of the Debtors’ businesses, the historically secretive nature of various

transactions and a general lack of financial and legal documentation available to current

management and its advisors has caused operational challenges. Relatedly, as a result of the

fraudulent scheme of certain members of the Debtors’ former management, the Debtors have

hired forensic investigators and other professionals which has caused them to incur additional

expenses.

            D. Litigation

       117.       The Debtors have been faced with various legal actions stemming mostly from

contractual disputes. The Debtors do not have the liquidity to litigate or settle these actions.

       118.       Additionally, the Debtors have received a Grand Jury Subpoena on January 18,

2018. The Debtors do not have the funds or resources to respond to the Grand Jury Subpoena.

III.   FACTS IN SUPPORT OF FIRST DAY MOTIONS

       119.       Contemporaneously with the filing of their chapter 11 petitions, the Debtors have

filed the First Day Motions. The Debtors request that each of the First Day Motions described



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below be granted, as they constitute a critical element in ensuring the Debtors’ successful

reorganization in these chapter 11 cases.

               A. Joint Administration Motion

        120.       By the Joint Administration Motion, the Debtors seek entry of an order

consolidating, for procedural purposes only, the administration of the Debtors’ chapter 11 cases

with Debtor Orion as the lead debtor, pursuant to Bankruptcy Rule 1015(b). In addition, the

Debtors request that the Clerk make an entry on the docket of each of the Debtors’ cases, other than

Orion’s case, stating that an order has been entered directing joint administration of the chapter 11

cases and that all further pleadings and other papers shall be filed in and all further docket entries

shall be made on Orion’s docket.

        121.       The Debtors are all affiliates and have all filed petitions in the same court. I

understand that a court may order the joint administration of multiple chapter 11 cases where

debtors are “affiliates” as defined in section 101(2) of the Bankruptcy Code. As reflected in the

organizational chart attached hereto as Exhibit A, all of the Debtors are direct or indirect

subsidiaries of CHT. Accordingly, I understand that the Debtors are “affiliates” and this Court is

authorized to order joint administration of their estates.

        122.       I believe that joint administration will be less costly and burdensome than the

separate administration of the estates due to the combined docket and combined notice to creditors

and parties in interest. Many applications, motions, orders, hearings and notices will be made in

these cases and will affect all of the Debtors. Joint administration will keep all parties informed of

matters related to these cases without the inconvenience and confusion of reviewing separate dockets.

        123.       In addition, as the Debtors are only seeking administrative consolidation by the

Joint Administration Motion, rather than substantive consolidation, I do not believe creditors’ interests



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will be harmed.

        124.       I believe that if each Debtor’s case were administered independently, there

would be a number of duplicative pleadings and overlapping service.                  This unnecessary

duplication of identical documents would be wasteful of the Debtors’ resources, as well as other

parties’ and this Court’s resources.

        125.       Therefore, I believe that the Debtors’ chapter 11 cases should be jointly

administered for procedural purposes only.

               B. Consolidated Creditor List Motion

        126.       By the Consolidated Creditor List Motion, the Debtors request authorization to

file a consolidated mailing matrix and a consolidated list of their seventy-five (75) largest

unsecured creditors. There are thousands of creditors and parties in interest in these cases, and

there may be potential for confusion and/or overlap regarding creditor obligations. Given the

circumstances, the Debtors submit that it is appropriate for them to file a consolidated mailing

matrix and a consolidated list of their seventy-five (75) largest unsecured creditors.           The

consolidated mailing matrix and the consolidated list of creditors will provide good and

sufficient notice to all creditors and parties in interest in an efficient manner.

        127.       I believe that authorizing the Debtors to file a consolidated list of creditors in

lieu of submitting separate mailing matrices for each Debtor and to file a consolidated list of the

Debtors’ seventy-five (75) largest unsecured creditors will promote efficiency and conserve the

Debtors’ resources. Therefore, I believe that the relief requested in the Consolidated Creditor

List Motion should be granted.

               C. Extension Motion

        128.       The Debtors seek an extension of time to file the required Schedules and



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Statement of Financial Affairs until May 15, 2018. The Debtors provided a list to the Claims

Agent with several thousand creditors. The preparation of the Schedules and SOFAs will require

time and human resources. During the days leading up to the Petition Date, the Debtors have

worked tirelessly to address critical operational matters and meet the demands and pressures

incident to the commencement of a chapter 11 case. Given the volume of material that must be

compiled and reviewed by the Debtors’ professionals and the work required to stabilize the

Debtors’ business operations, the Debtors believe that they should be granted a forty-six (46) day

extension (for a total of sixty (60) days from the Petition Date) to file their Schedules and

SOFAs.

              D. Claims Agent Retention Application

       129.       Pursuant to the Claims Agent Retention Application, the Debtors seek

authorization to retain Epiq Bankruptcy Solutions, LLC (“Epiq”) as their claims and noticing

agent (“Claims and Noticing Agent”) with respect to these chapter 11 cases, in accordance with

the terms and conditions of that certain Engagement Agreement, dated February 27, 2018, by

and between Epiq and the Debtors, effective nunc pro tunc to the Petition Date.

       130.       Upon information and belief, Epiq is an experienced Claims and Noticing

Agent and is frequently used by debtors in large chapter 11 cases, and I believe the professionals

at Epiq are well-qualified to provide such services, expertise, consultation and assistance to the

Debtors and serve as Claims and Noticing Agent in these chapter 11 cases. The Debtors believe

that Epiq is capable of handling the requisite noticing responsibilities, thereby relieving the Clerk

or, in the alternative, the Debtors of such burden. The employment of Epiq will provide efficient

management of the claims and noticing processes in these cases, thereby allowing the Debtors’

management and advisors to focus on the Debtors’ reorganization efforts.



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       131.         Additionally, I believe the Debtors’ selection of Epiq to serve as Claims and

Noticing Agent has satisfied the Court’s Protocol for the Employment of Claims and Noticing

Agents Under 28 U.S.C. § 156(c).              Specifically, the Debtors have solicited and reviewed

engagement proposals from at least two (2) other nationally recognized claims and noticing
                                                                   28
agents to ensure selection through a competitive process.

       132.         Accordingly, the Debtors the Claims Agent Retention Application should be

approved.

              E. Wage Motion

       133.         Through the Wage Motion, the Debtors seek entry of interim and final orders,

among other things, authorizing the Debtors to pay certain prepetition wages and compensation

as well as to maintain and continue employee benefits and programs in the ordinary course of

business and make prepetition payments in connection therewith. As of the Petition Date, the

Debtors employed approximately 275 persons.

       134.         Certain amounts remain due and owing to the Debtors’ workforce because

amounts related to prepetition services, while accrued in whole or in part, had not yet become

due and payable by the Debtors; amounts deducted from employee’s paychecks to make

payments on behalf of the employees for or with respect to benefit programs or amounts due to

third parties in connection therewith have not yet been remitted; and withholdings from

employee’s paychecks for various federal, state and local income taxes and other payments,


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   Proposals were solicited from Epiq, Donlin Recano & Company, Inc., and Prime Clerk LLC. Although Prime
Clerk LLC does not appear on the list of approved claims and noticing agents for the Eastern District of New York
Bankruptcy Court, at the time the solicitations were made, it was contemplated that the Debtors would be filing in a
different jurisdiction that includes Prime Clerk LLC as an approved claims and noticing agent. Prime Clerk LLC is
a nationally recognized claims and noticing agent that performs substantially similar services as Epiq and Donlin
Recano & Company, Inc.




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employee wages, garnishments and unemployment insurance have not yet been remitted. The

vast majority of employees rely in large part, if not exclusively, on their compensation and

benefits to pay their daily living expenses and support their families and will be exposed to

significant financial constraints if the Debtors are not permitted to continue paying

compensation, provide employee benefits and maintain existing programs. The Debtors seek to

minimize the personal hardship their workforce would suffer if the Debtors’ obligations are not

honored when due or as expected. The Debtors’ business depends on the skills and institutional

knowledge of their workforce. It is critical to the Debtors’ continued business operations that the

Debtors’ workforce remain largely unaffected as the result of the filing of these chapter 11 cases.

       135.       I believe that the employees provide the Debtors with services critical to

conduct the Debtors’ business and that absent the payment of the employee compensation and

benefits owed to them, the Debtors may experience employee turnover and instability during this

critical time. Additionally, I understand that a significant portion of the value of the Debtors’

businesses is tied to their workforce, which cannot be replaced without significant efforts. I

therefore believe that the payment of the obligations outlined in the Wage Motion is a necessary

and critical element of the Debtors’ efforts to preserve value and will give the Debtors the

greatest likelihood of retention of their employees as they seek to operate their businesses in

these chapter 11 cases. Accordingly, on behalf of the Debtors, I respectfully submit that the

Wage Motion should be granted.

              F. Utilities Motion

       136.       By the Utilities Motion, the Debtors are requesting interim and final orders to

(i) prohibit Utility Companies from altering, refusing, or discontinuing service to the Debtors;

(ii) deeming the Utility Companies adequately assured of future performance; and (iii)



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establishing procedures for determining requests to the Debtors for additional adequate

assurance.

        137.       In the ordinary course of business, the Debtors obtain utility services, such as gas,

telecommunication, electricity, water and sewage, data communications and/or other services from

several utility companies (the “Utility Companies”). A list of the Utility Companies and amounts

associated therewith is attached to the Utilities Motion as Schedule 1.

        138.       I believe that uninterrupted utility services are essential to the ongoing operations

of the Debtors, and therefore, to the successful resolution of these cases. It is, therefore, critical

that utility services continue uninterrupted during these chapter 11 cases.

        139.       The Debtors propose to provide “assurance of payment” to the Utility

Companies within twenty (20) days after the Petition Date by placing a cash deposit equal to two

weeks’ worth of payments to Utility Companies into a newly created, segregated account (the

“Utility Deposit Account”) to be held for the exclusive purpose of paying the Utility Companies.

The Debtors submit that the establishment of the Utility Deposit Account, in conjunction with

the Debtors’ ability to pay for future utility services in the ordinary course of business,

constitutes adequate assurance of payment to the Utility Companies.

        140.       Further, the Debtors propose to protect the Utility Companies by establishing

the procedures provided in the Utilities Motion, whereby any Utility Provider can request

additional adequate assurance in the event that it believes there are facts and circumstances with

respect to its providing postpetition services to the Debtors that would merit greater protection.

        141.       Therefore, I believe that the Utility Companies have adequate assurance of

future performance, and the relief sought in the Utility Motion should be granted.




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              G. Insurance Motion

       142.       By the Insurance Motion, the Debtors seek entry of interim and final orders,

authorizing them to continue their insurance policies, pay prepetition and ongoing ordinary

course postpetition obligations in connection with such insurance policies and continue to honor

their obligations in connection with certain premium financing arrangements.

       143.       In the ordinary course of their business, through various carriers, the Debtors

maintain numerous Insurance Policies that provide coverage for, among other things, casualty

liability, property damage, umbrella/excess liability, and director and officer liability.     The

Insurance Policies are essential for the preservation of the Debtors’ businesses and are, in some

cases, required by various laws, regulations or contracts that govern such businesses.

       144.       Prepayment of insurance policies is not always economically advantageous in

that it would reduce the Debtors’ working capital. Therefore, the Debtors finance, and wish to

continue to finance, certain of their insurance premiums through premium finance arrangements.

Specifically, the Debtors use IPFS Corporation to finance premiums associated with certain of

the Debtors’ Insurance Policies.

       145.       I believe that continuation and renewal of insurance policies and related

premium financing arrangements, entry into new insurance policies and premium financing

agreements and continuing to pay claims that come due are essential to preserve the value of the

Debtors’ businesses, properties and assets and are, therefore, in the best interest of the Debtors’

estates, their creditors and all other parties in interest. The relief requested in the Insurance

Motion will enable the Debtors to continue to operate their businesses in chapter 11 without

disruption. Accordingly, on behalf of the Debtors, I respectfully submit that the Insurance

Motion should be granted.



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       F.      Cash Management Motion

       146.       Through the Cash Management Motion, the Debtors seek entry of an order

authorizing the Debtors’ continued use of their company-wide Cash Management System,

including existing bank accounts.

       147.     The Cash Management System, which is described in the Cash Management

Motion, is a practical system of integrated bank accounts designed to efficiently collect, transfer

and disburse funds for the Debtors. The Debtors use the cash management system in the ordinary

course of their business to collect, transfer and disburse funds generated from their operations,

manage cash flow to affiliated Debtors and facilitate cash monitoring, forecasting and reporting.

I believe that the continuation of the Debtors’ cash management system is essential to the

Debtors’ businesses, and that any disruption in the Debtors’ use of the cash management system

would severely disrupt, if not cripple, the Debtors’ businesses.

       148.     In the ordinary course of their businesses, the Debtors use a multitude of checks

and other business forms (including but not limited to checks, deposit slips, letterhead, contracts,

purchase orders and invoices). The majority of the Debtors’ Bank Accounts are managed

electronically and do not use paper forms. However, the Debtors may use limited preprinted

letterhead checks and related documents (the “Preprinted Forms”). By virtue of the nature and

scope of the Debtors’ business operations, it is important that the Debtors be permitted to

continue to use the Preprinted Forms without alteration or change and without the “Debtor in

Possession” designation.     Otherwise, the estates would be required to bear a potentially

significant expense which the Debtors respectfully submit is unwarranted. To the extent the

Debtors’ checks are preprinted, once such preprinted checks are depleted, the Debtors will then

seek to replace them with forms containing the “Debtor in Possession” designation.

       149.     As parties that presently conduct business with the Debtors likely will be aware

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of the Debtors’ status as debtors in possession, the alteration of the Debtors’ Preprinted Forms

would be unnecessary and unduly burdensome.

       150.     Based on the above, I believe that the relief requested in the Cash Management

Motion is in the best interests of the Debtors’ estates, their creditors, and all other parties in

interest and will enable the Debtors to continue to operate their businesses in chapter 11.

Accordingly, on behalf of the Debtors, I respectfully submit that the Cash Management Motion

should be granted.

       G.      Critical Vendor Motion

       151.       Through the Critical Vendors Motion, the Debtors seek authority to pay

prepetition claims of certain critical vendors (“Critical Vendors”). The amounts the Debtors seek

to pay on an interim and final basis are set forth in the Critical Vendor Motion.

       152.       The Debtors’ ongoing business is dependent upon their ability to service their

customers. Disruption from, or losses of, Critical Vendors would immediately put the Debtors’

relationships with their customers in serious jeopardy. It is quite possible that the Debtors’

customers would find an alternative service provider to the detriment of the Debtors and their

estates, should the flow of the Debtors’ services be disrupted.

       153.          The need for the flexibility to pay Critical Vendors is particularly acute in the

period immediately following the Petition Date. During this period, the Debtors and their

advisors will be focusing on stabilizing operations and working towards the reorganization of the

Debtors. After the filing, the Debtors will need to satisfy certain Critical Vendors that could

attempt to assert their leverage by halting the delivery of services, suddenly and without notice if

not paid, which could completely cripple the Debtors’ operations. Accordingly, I respectfully

submit that the Critical Vendor Motion should be granted.




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        H.      DIP Financing Motion

        154.        By the DIP Financing Motion, the Debtors request the entry of an Interim

Order and a Final Order, among other things, (i) authorizing the Debtors to (a) enter into the DIP

Credit Agreement, and (b) use Cash Collateral, (ii) granting liens and providing super-priority

administrative expense status, (iii) granting adequate protection to the Debtors’ prepetition

secured lenders, (iv) scheduling a final hearing pursuant to Bankruptcy Rule 4001, and (v)

granting related relief.

        155.        The DIP Facility consists of a $7,500,000 revolving credit facility, up to

$4,500,000 of which the Debtors are seeking on an interim basis, on the terms set forth in the

DIP Credit Agreement, the pertinent terms of which are set forth in the DIP Financing Motion.

The proceeds of the DIP Facility will be used to pay operating expenses and the costs and

expenses of administering these chapter 11 cases subject to and in accordance with a Budget and

subject to entry of a final order approving the DIP Facility. The DIP Facility contemplates a

“roll up” of the prepetition Bridge Loans (the “Roll-Up”). The DIP Lenders would not have

agreed to provide the DIP Facility without the Roll-Up.

        156.        In the ordinary course of business, the Debtors require cash on hand and cash

flow from their operations to fund their liquidity needs and operate their businesses. In addition,

the Debtors require access to sufficient liquidity to fund these chapter 11 cases while working

towards a potential sale transaction. Postpetition financing, in addition to the use of cash

collateral, is necessary in order for the Debtors to have access to sufficient liquidity to maintain

ongoing day-to-day operations, ensure proper servicing of customers post-petition, and fund

working capital needs. Absent postpetition financing and the use of cash collateral, the Debtors

will be forced to wind-down their operations due to a lack of funds. I believe that it is imperative

that the Debtors have access to sufficient liquidity to avoid imminent irreparable harm and

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successfully consummate a sale transaction.

       157.        Representatives of the Debtors contacted one other potential third party

lender. No other entity offered to provide financing on terms more favorable than those being

provided by the DIP Lenders. The DIP Facility adequately addresses the Debtors’ working

capital needs, and the DIP Facility will provide the Debtors’ various constituencies, including

customers, employees, and vendors with confidence in the Debtors’ ability to maintain

operations while working towards a sale.

       158.        The Interim Order also sets forth certain stipulations and agreements by the

Debtors regarding, inter alia, among other things, the validity, perfection, and amount of liens

held by the Prepetition Lenders and the Debtors’ obligations under the Prepetition Credit

Agreement. Each of the stipulations and agreements set forth in the Interim Order are true and

correct to the best of my knowledge.

       159.        I believe that the relief requested in the DIP Financing Motion is in the best

interests of the Debtors, their estates and their creditors, and absent such relief, the Debtors will

experience immediate and irreparable harm and their reorganization efforts will be jeopardized.

                         Schedules Pursuant To E.D.N.Y. LBR 1007-4

       160.       Attached hereto and incorporated herein by reference are various schedules

setting forth information required under E.D.N.Y. LBR 1007-4. Capitalized terms used in the

attached schedules that are not otherwise defined therein shall have the meanings ascribed to

them in this Declaration.




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                                        CONCLUSION

       For all the foregoing reasons, I respectfully request that the Court grant the relief

requested in the First Day Motions.      I reserve the right to supplement and/or amend this

Declaration with testimony and/or exhibits.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

Dated: March 16, 2018                               /s/ Timothy J. Dragelin
                                                    By: Timothy J. Dragelin
                                                    Title: Chief Restructuring Officer




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                                EXHIBIT A

                      Corporate Organizational Chart
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                                          SCHEDULE 11

Pursuant to E.D.N.Y. LBR 1007-4(a)(i), the Debtors are not small business debtors within
the meaning of Bankruptcy Code § 101(51D).




1
  Capitalized terms used in the these schedules that are not otherwise defined herein shall have the
meanings ascribed to them in the Declaration of Timothy J. Dragelin in Support of Chapter 11 Petitions
and First Day Motions (the “First Day Declaration”). The information required by E.D.N.Y. LBR 1007-
4(a)(ii) is set forth in the body of the First Day Declaration.




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                                       SCHEDULE 2

                   List of Committees Formed Prior to the Petition Date

Pursuant to E.D.N.Y. LBR 1007-4(a)(iv), and to the best of the Debtors’ knowledge, no
committees were organized prior to the Petition Date.




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                                         SCHEDULE 3

                             Consolidated List of the Holders of the
              Seventy-Five (75) Largest Unsecured Claims on a Consolidated Basis

Pursuant to E.D.N.Y. LBR 1007-4(a)(v) in conjunction with the Court’s Guidelines for First Day
Motions (which allows the Debtors to file a consolidated list of the Debtors’ 30 largest unsecured
creditors), I incorporate by reference the list of the holders of the seventy-five (75) largest
unsecured claims against the Debtors on a consolidated basis, excluding insiders, which is
attached to the Debtors’ chapter 11 petitions (the “Consolidated Top 75 List”).

The information contained in the Consolidated Top 75 List shall not constitute an admission of
liability by, nor is it binding on, the Debtors. The Debtors reserve all rights to assert that any
debt or claim listed in the Consolidated Top 75 List is a disputed claim or debt, and to challenge
the priority, nature, amount or status of any such claim or debt. In the event of any
inconsistencies between the summaries set forth in the Consolidated Top 75 List and the
respective corporate and legal documents relating to such obligations, the descriptions in the
corporate and legal documents shall control. The Consolidated Top 75 List includes estimates
outstanding claim amounts as of the Petition Date. The Debtors have excluded from the Top 75
List any claims that will be addressed by the First Day Motions filed in connection with these
chapter 11 cases.




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                                         SCHEDULE 4

          Consolidated List of the Holders of the Five (5) Largest Secured Claims

Pursuant to E.D.N.Y. LBR 1007-4(a)(vi), the following lists the creditors holding, as of the
Petition Date, the five largest secured, non-contingent claims against the Debtors, on a
consolidated basis, excluding claims of insiders as defined in 11 U.S.C. § 101.

The information contained herein shall not constitute an admission of liability by, nor is it
binding on, the Debtors. The Debtors reserve all rights to assert that any debt or claim listed
herein is a disputed claim or debt, and to challenge the priority, nature, amount or status of any
such claim or debt, including the right to challenge any lien. The descriptions of the collateral
securing the underlying obligations are intended only as brief summaries. In the event of any
inconsistencies between the summaries set forth below and the respective corporate and legal
documents relating to such obligations, the descriptions in the corporate and legal documents
shall control.

In addition to the parties listed below, the Debtors may have unliquidated and/or contingent
claims as a result of parties asserting a security interest against the Debtors’ assets through UCC
filings.

     Creditor           Contact, Mailing Address &      Amount of          Collateral Description
                        Telephone Number/Fax            Claim              and Value
                        Number
                        Bank of America, N.A.                              Collateral: First lien on
     Bank of                                            Approximately
                        Credit Services                                    substantially all assets of
     America, N.A.,                                     $159.3 million
                        TX1-492-14-11                                      the Debtors.
     as
1.                      901 Main St.
     Administrative
                        Dallas TX 75202-3714                               Collateral Value: Uncertain
     Agent
                        Attention: Ryan Miller
                        E-mail: rmiller24@baml.com

                        Ashton Nelson                                      Collateral: 14 Savin
     U.S. Bank                                          Approximately
                        1310 Madrid Street, Suite 101                      copiers or similar machines,
     Equipment                                          $143,000
                        Marshall, MN 56258-4002                            as set forth in the applicable
2.   Finance
                        (800)-328-5371 ext. 5328420                        financing statement

                                                                           Collateral Value:
                                                                                     1
                                                                           Unknown




1
  While the Debtors have other equipment financing and/or leasing arrangements, the Debtors have not
identified any other active UCC filings with respect to equipment.




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                                        SCHEDULE 5

                      Summary of the Debtors’ Assets and Liabilities

Pursuant to E.D.N.Y. LBR 1007-4(a)(vii), the following financial data (unaudited and subject to
change) is the latest available information and reflects the Debtors’ financial conditions, as
consolidated as of the Petition Date.

The following financial data shall not constitute an admission of liability by the Debtors. The
Debtors reserve all rights to assert that any debt or claim included herein is a contingent,
unliquidated or disputed claim or debt or challenge the priority, nature, amount or status of any
claim or debt.

Assets

Working Capital Assets:      Approximately $6.9 million, excluding NYNM
                             Approximately $7.7 million, including NYNM

Going Concern Value:         Undetermined

Claims Against Third Parties: Could exceed $100 million

Liabilities

Total Liabilities:           Approximately $245.9 million




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                                      SCHEDULE 6

                         Schedule of Publicly Held Securities

Pursuant to E.D.N.Y. LBR 1007-4(a)(viii), there are no shares of the Debtors’ stock,
debentures and other securities that are publicly held.




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                                          SCHEDULE 7

                   List of Debtors’ Property In the Possession of Third Parties

Pursuant to E.D.N.Y. LBR 1007-4(a)(ix), the following lists the Debtors’ property that is in the
possession or custody of any custodian, public officer, mortgage, pledge, assignee of rents,
secured creditor, or agent for any such entity:

Upon information and belief, certain of the Debtors’ records are in the possession of Robinson
Brog Leinwand Greene Genovese & Gluck PC, the Debtors’ former counsel, and Rosenberg
Rich Baker Berman & Company, the Debtors’ former auditors. The Debtors intend to seek
turnover of such records.




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                                                 SCHEDULE 8

             Summary of Property From Which the Debtors Operate Their Business

Pursuant to E.D.N.Y. LBR 1007-2(a)(x), the following lists the property or premises owned,
leased or held under other arrangement from which the Debtors operate their businesses.

The following list is solely intended to provide the Court with information as to the premises
from which the Debtors operate their businesses, and includes the locations of the Physician
Groups (as defined in the First Day Declaration). The Debtors reserve all rights, including, but
not limited, under section 365 of the Bankruptcy Code. The Debtors make no admission as to
the contractual relationship or enforceability of any lease agreement and further reserve all rights
in connection therewith.

                                                                  Premises                   Leased/
                   Debtor
                                                                  Address                  Owned/Other
                                                 Warwick Center
 Allegiance Billing & Consulting LLC             36 Copperfield Circle                     Leased
                                                 Lititz, PA 17543
                                                 333 Jericho Turnpike
 Allegiance Billing & Consulting LLC             Suite 102                                 Leased
                                                 Jericho, NY 11753
                                                 2 Broad Street
 Allegiance Consulting Associates LLC            3rd Floor                                 Leased
                                                 Bloomfield, NJ 07003
 Integrated Physicians Solutions, Inc.                                                     Leased by non-
                                                 331 North Breiel Blvd.
 (Leased by Children's Medical Center, Inc.,                                               Debtor contract
                                                 Middletown, OH 45042
 a Physician Group)                                                                        counterparty
                                                 3200 Wilcrest Drive
 Medical Billing Services Inc.                   Suite 550                                 Leased
                                                 Houston, TX 77042
                                                 2901 4th Ave.
                                          3
 New York Network Management, L.L.C              1st Floor                                 Leased
                                                 Brooklyn, NY 11209
                                                 417 Grand Park Drive
 North East Medical Solutions WV, LLC            Suite 204                                 Leased
                                                 Parkersburg, WV 26105
                                                 3824 Northern Pike
 North East Medical Solutions, LLC               Suite 600                                 Leased
                                                 Monroeville, PA 15146
                                                 368 W. Pike St.
 Integrated Physicians Solutions, Inc.           Suite 103                                 Leased
                                                 Lawrenceville, GA 30046
                                                 One Arin Park
                                                 1715 Route 35 North
 Orion HealthCorp, Inc.                                                                    Leased
                                                 Suite 303
                                                 Middletown, NJ 07748


 3
     New York Network Management, L.L.C. has not filed a chapter 11 petition at this time.




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                                                                Premises                   Leased/
                   Debtor
                                                                Address                  Owned/Other
                                               One Arin Park
                                               1715 Route 35 North
 Orion HealthCorp, Inc.                                                                  Leased
                                               Suite 301 & 302
                                               Middletown, NJ 07748
 Integrated Physicians Solutions, Inc.                                                   Leased by non-
                                               5450 Far Hills Ave
 (Leased by Pediatric Associates of Dayton,                                              Debtor contract
                                               Kettering, OH 45429
 Inc., a Physician Group)                                                                counterparty
 Integrated Physicians Solutions, Inc.         3140 Dayton-Xenia Rd                      Leased by non-
 (Leased by Pediatric Associates of Dayton,    Ste C                                     Debtor contract
 Inc., a Physician Group)                      Beavercreek, OH 45432                     counterparty
 Integrated Physicians Solutions, Inc.         9000 North Main Street                    Leased by non-
 (Leased by Pediatric Associates of Dayton,    Ste. 332                                  Debtor contract
 Inc., a Physician Group)                      Dayton, OH 45415                          counterparty
 Integrated Physicians Solutions, Inc.
                                               1625 Avenue of the Cities
 (Relates to premises upon which a Physician                                             Leased
                                               Moline, IL 61265
 Group operates)
                                               100 Jericho Quadrangle
 Physicians Practice Plus, LLC                 Suite 235                                 Leased
                                               Jericho, NY 11753
                                               1633 Erringer Road
 Rand Medical Billing, Inc.                    1st Floor                                 Leased
                                               Simi Valley, CA 93065
                                               7175 West Jefferson Ave.
 Western Skies Practice Management             Suite 2500                                Leased
                                               Lakewood, CO 80235




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                                            SCHEDULE 9

                        Location of the Debtors’ Assets, Books and Records

Pursuant to E.D.N.Y LBR 1007-4(a)(xi), the following lists the locations of the Debtors’
substantial assets, the location of their books and records, and the nature, location and value of
any assets held by the Debtors outside the territorial limits of the United States.

Location of Debtors’ Substantial Assets

The Debtors have working capital assets nationwide, with substantial assets in Jericho, NY,
Lawrenceville, GA, Litiz, PA, Houston, TX, Parkersburg, WV, Monroeville, PA, Simi Valley,
                       4
CA, and Lakewood, CA.


Books and Records

The Debtors’ books and records are located in Middletown, NJ, Jericho, NY, Lawrenceville, GA,
Litiz, PA, Houston, TX, Parkersburg, WV, Monroeville, PA, Simi Valley, CA, and Lakewood,
    5
CA.


Debtors’ Assets Outside the United States (if applicable)

The Debtors do not have assets outside of the United States.




4
    The substantial assets of NYNM are located in Brooklyn, NY.
5
    The books and records of NYNM are located in Brooklyn, NY.




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                                                                 SCHEDULE 10

                                                Summary of Legal Actions Against the Debtors

Pursuant to E.D.N.Y. LBR 1007-4(a)(xii), the following is a list of the nature and present status of each material action or proceeding,
pending or threatened, against the Debtors or their properties where a judgment against the Debtors or a seizure of their property may
be imminent.

              Litigation Matter          Plaintiff(s)         Defendant(s)           Date        Forum         Nature of Action     Status of Case



    1.    American Express Travel    American Express    Constellation             12/28/17   Supreme         Breach of contract    Pending
          Related Services           Travel Related      Healthcare                           Court of New
          Company, Inc. v.           Services Company,   Technologies, Inc.                   York, County
          Constellation Healthcare   Inc.                                                     of New York
          Technologies, Inc.
          (Index No. 657592/2017)

    2.    Kolb Radiology, PC v.      Kolb Radiology,     Orion Healthcorp. d/b/a   10/1/16    SDNY            Breach of contract    Pending
          Orion Healthcorp, Inc.     PC (“Kolb”)         Porteck, LLC                                         and conversion
          d/b/a Porteck, LLC (Case
          No. 1:16-cv-07824-
          GHW)

    3.    Parkersburg Radiology      Parkersburg         Orion                     8/12/17    Circuit Court   Breach of contract,   Pending
          Services, Inc. v. Orion    Radiology                                                of Wood         breach of fiduciary
          Healthcorp, Inc. (Civil    Services, Inc.      North West Medical                   County, WV      duty, negligent
          Action No. 17-C-291)       (“PRS”)             Solutions WV, LLC                                    misrepresentation,
                                                         (note: party improperly                              and unjust
                                                         identified—should be                                 enrichment
                                                         NEMS West Virginia,
                                                         LLC (“NEMS WV”))




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              Litigation Matter         Plaintiff(s)         Defendant(s)          Date          Forum        Nature of Action     Status of Case



    4.    GeBBS Healthcare           GeBBS Healthcare   Orion HealthCorp, Inc.   1/23/18      NY Supreme,    Breach of contract    Pending
          Solutions, Inc. v. Orion   Solutions, Inc.                                          County of
          HealthCorp, Inc. (Index    (“GeBBS”)                                                NY
          No. 650346/2018)


    5.    Criterions, LLC v.         Criterions, LLC    Visient Corp.            3/9/16       New York       Breach of contract    Pending
          Visient Corp., et al.                                                               Supreme
          (Index No. 601569/16)                         Arvind Walia                          Court—
                                                                                              Nassau
                                                        Constellation                         County
                                                        Healthcare
                                                        Technologies

                                                        Physicians Practice
                                                        Plus

    6.    Steel Valley Emergency     Steel Valley       North East Medical       8/16/16      Court of        Breach of contract   Pending
          Physicians, LLC v. North   Emergency          Solutions, LLC                        Common         and breach of duty
          East Medical Solutions,    Physicians, LLC    (“NEMS”)                              Pleas,         of loyalty
          LLC, et al. (Docket No.    (“SVEP”)                                                 Allegheny
          GD-16-01479)                                  Orion Healthcorp, Inc                 County, PA
                                                        (“Orion”)

    7.    Cohen, et al. v. Porteck   Christine Cohen    Porteck Corporation      9/6/17       Supreme        Breach of contract    Pending
          Corporation, et al.                           (“Porteck”)                           Court of the
          (Index No. 617280/2017)    Ronald Cohen                                             State of NY,
                                                        Visient Corp.                         County of
                                                                                              Suffolk
                                                        Orion Healthcorp, Inc.
                                                        (“Orion”)




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              Litigation Matter           Plaintiff(s)          Defendant(s)          Date       Forum          Nature of Action     Status of Case



    8.    GSS Infotech v. Orion       GSS Infotech         Orion HealthCorp, Inc.   10/1/16   District Court   Breach of contract,   Pending
          HealthCorp, Inc. and        (“GSS”)              (“Orion”)                          of Harris        quantum meruit,
          Constellation Health,                                                               County, TX       and unjust
          LLC (Cause No. 2014-                             Constellation Health,                               enrichment
          45701/ 2016/45701)                               LLC (“Constellation
                                                           Health”)



    9.    Singh-Narayan and           Rookminee Singh-     Orion HealthCorp, Inc.   7/13/17   Supreme          Unpaid wages          Pending
          Yamraj v. Orion             Narayan              (“Orion”)                          Court of the
          Healthcorp, Inc (Index                                                              State of NY,
          No. 709520/17)              Jairaj Yamrajthank   Physicians Practice                County of
                                                           Plus, LLC (“PPP”)                  Queens

    10.   Orion HealthCorp, Inc.      Orion HealthCorp,    John G. McBride          1/15/14   District Court   Breach of contract    Settlement
          and RMI Physicians          Inc. (“Orion”)                                          of Harris        and fraud             pending.
          Services Corp. v. John G.                        Alan R. Nottingham                 County, TX
          McBride, et al. ( Case      RMI Physicians
          No. 2014-01758)             Services Corp.       Chi T. Luu                         Court of
                                      (“RMI”)                                                 Appeals,
          (Court of Appeals                                On Q Operating                     First District
          Number: 01-17-00131-                             Company, LLC
          CV)
                                                           On Q Contact Center
                                                           S.A

    11.   Ferrer, Claudio v. RMI      Ferrer, Claudio      RMI Physician Services   9/30/15   Circuit Court    Class action for      Settlement
          Physician Services                               Corporation                        of 20th          statutory damages     pending.
          Corporation d/b/a Orion-                                                            Judicial
          RMI (Case No. 15-CA-                                                                Circuit in Lee
          2537)                                                                               County,
                                                                                              Florida




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              Litigation Matter         Plaintiff(s)           Defendant(s)          Date       Forum          Nature of Action    Status of Case



    12.   1805 Old Alabama Road,     1805 Old Alabama     Orion Healthcorp, Inc.   1/2016    State Court      Breach of contract   Final judgment
          LLC v. Orion               Road LLC                                                of Fulton                             entered for
          Healthcorp, Inc., 16-EV-                                                           County, State                         $227,473.59.
          000241                                                                             of Georgia

    13.   Cockerell                  Cockerell            Medical Billing          2/29/16   District Court   Breach of contract   Case settled.
          Dermatopathology, P.A.     Dermatopathology,    Services, Inc. (“MBS”)             of Dallas        and negligence
          v. Medical Billing         P.A. (“Cockerell”)                                      County, TX                            Dismissal
          Services, Inc. d/b/a                            Orion HealthCorp, Inc.                                                   papers not yet
          Orion MBS, et al. (Cause                        (“Orion”)                                                                filed.
          No. DC-1602365)
                                                          Joseph A. Seale

                                                          Dale Brinkman

                                                          Arvind Walia

                                                          Ravi Sankar Chivukula




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                                               SCHEDULE 11

                                            Senior Management

Pursuant to E.D.N.Y. LBR 1007-4(a)(xiii), the following provides the names of the individuals
who comprise the Debtors’ existing senior management, a description of their tenure with the
Debtors, and a brief summary of their relevant responsibilities and experience.

      Name/Position               Relevant Experience and Responsibilities                      Tenure
Timothy J. Dragelin           Mr. Dragelin is the Chief Restructuring Officer of Approximately six
                              the Debtors and the Chief Executive Officer of (6) months
Chief Restructuring           certain of the Debtors. As such, Mr. Dragelin’s
Officer and Chief             responsibilities include overseeing the day to day
                  1
Executive Officer             operations of the Debtors. Mr. Dragelin also
                              leads     FTI’s      Corporate    Finance      and
                              Restructuring’s Healthcare Industry practice and
                              has more than twenty (20) years of experience in
                              restructuring matters, including representing
                              debtors and creditors in bankruptcy and out-of-
                              court restructurings. Mr. Dragelin’s experience
                              includes bankruptcy planning and management,
                              turnaround consultation, interim management,
                              lender advisory, buy-side due diligence, sell-side
                              mandates, valuation, process improvement,
                              forensic investigations, and litigation advisory
                              work.

Arvind Walia                  Mr. Walia is the Chief Executive Officer of Orion          Approximately
                              HealthCorp, Inc.        As such, Mr. Walia’s               three (3) years
Chief Executive               responsibilities include overseeing the day-to-day         (since the Debtors
Officer, Orion                operations of the Orion RCM Business. Mr.                  purchased the
HealthCorp, Inc.              Walia’s experience spans more than twenty-five             assets of a business
                              (25) years in information technology, consulting           owned by Mr.
                              and professional services.                                 Walia)




 1
     Mr. Dragelin’s position as Chief Executive Officer is limited to certain of the Debtors.




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Melodie Kraljev        Ms. Kraljev is the Chief Operating Officer of       Approximately
                       Orion HealthCorp, Inc. As such, Ms. Kraljev’s       three (3) years
Chief Operating        responsibilities include executing the day-to-day   (since the Debtors
Officer, Orion         operations of the Orion RCM business.               purchased the
HealthCorp, Inc.                                                           assets of a business
                                                                           where Ms. Kraljev
                                                                           worked)




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                                            SCHEDULE 12

                                                  Payroll

Pursuant to E.D.N.Y. LBR 1007-4(a)(xiv)-(xv), the following provides the estimated amount of
weekly payroll to be paid to the Debtors’ employees (not including officers and directors) and
the estimated amount to be paid to officers, directors, and financial and business consultants
retained by the Debtors, for the 30-day period following the filing of the chapter 11 petitions.

                          Payments to Employees, Officers and Directors

Weekly Payroll to Employees (Not Including            Excluding NYNM: Approximately
Officers and Directors)                               $1,409,000 in the aggregate for the 30 day
                                                      period following the filing

                                                      Including NYNM: Approximately
                                                      $1,465,000 in the aggregate for the 30 day
                                                      period following the filing

Estimated Payments to Officers and Directors          Excluding NYNM: Approximately $67,500

                                                      Including NYNM: Approximately $92,500



                                                                               1
                         Payments to Financial and Business Consultants
                                            2
Allegiance Consulting Associates, LLC                 Approximately $35,900

Sessler Macklin LLP (relates to NYNM)                 Approximately $8,000

Benson Consulting, Inc. (relates to NYNM)             Approximately $6,250

Kaylee Ilarraza (relates to NYNM)                     Approximately $2,500

EK & Associates                                       Approximately $1,500




1
 This list excludes payments paid to entities owned by officers, which are included in the amount above.
This list does not include independent contractors that provide information technology related services.
2
    Owned by executive vice presidents of the Allegiance RCM Business.




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                                           SCHEDULE 13

                              Cash Receipts and Disbursements,
                   Net Cash Gain or Loss, Unpaid Obligations and Receivables

Pursuant to E.D.N.Y. LBR 1007-4(xvi), the following provides, for the 30-day period following
the Petition Date, the estimated cash receipts and disbursements, net cash increase or decrease,
and obligations and receivables expected to accrue that remain unpaid, other than professional
fees, on a consolidated basis.

                                             Including NYNM              Excluding NYNM
                       1                                                                       2
          Cash Receipts                                 $4,000,000                 $3,709,000

          Cash Disbursements                            $4,370,000                 $4,046,000

          Net Cash Decrease                               $370,000                   $337,000

          Unpaid Obligations                              $680,000                   $545,000

          Unpaid Receivables                            $1,906,000                 $1,780,000




1
 This amount does not include debtor in possession financing or tax refunds that may be received by the
Debtors in the relevant period.
2
    Assumes amounts upstreamed from NYNM.




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